12-12020-mg          Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                                 Pg 1 of 69



 IV. BOARD OF DIRECTOR AND MANAGEMENT ISSUES
 A. THE PROTOCOL AND FUNCTIONING OF RESCAP’S BOARD OF DIRECTORS
      The ResCap Board was subject to formal governance protocols and requirements, met
 frequently in response to a variety of challenging circumstances, and had access to numerous
 sophisticated legal and financial advisors. The statistical data indicate that the ResCap Board
 was extremely active. Yet, despite the general volume and intensity of the ResCap Board’s
 activities, several factors diminished the Board’s overall effectiveness.
      Those factors included a grueling rate of activity, substantial turnover of inside directors,
 dual affiliations of many Board members, underlying conflicts, and information flow
 management issues. All of this contributed to a level of dysfunction in Board processes, which
 compromised the Board’s capacity to respond optimally to deteriorating conditions. The
 presence of the Independent Directors was supposed to safeguard ResCap’s interests, but their
 performance was, to a degree, handicapped by problematic structural issues that beset the Board.
       1. The ResCap Board Was Increasingly Industrious Yet Beleaguered
      In 2005, when ResCap was thriving financially and viewed as having bright prospects
 going forward, the ResCap Board attended to its duties with fairly conventional diligence.
 Events occurring during that year demanded no extraordinary attention from the ResCap Board.
 The ResCap Board was quite stable and methodical in 2005 as compared to later periods.
      Worsening market conditions and financial performance starting in the third quarter of
 2006 prompted the ResCap Board, by necessity, to become more active. Indeed, from 2005
 through 2008, the activity of the ResCap Board eventually reached nearly frenzied levels of
 meetings and proposals, which in part led to the resignations of the two original Independent
 Directors of the Board.
      Statistics reflect the escalating activity of the ResCap Board during the relevant period. In
 2005, a year of significant financial achievements for ResCap, Tom Jacob and Tom Melzer
 became the Board’s first Independent Directors pursuant to dictates of the 2005 Operating
 Agreement.1 The ResCap Board (after the appointments of Jacob and Melzer) was then
 comprised of eight directors and met a total of four times. In 2006, the ResCap Board held six
 regular and four special meetings, along with fifteen Audit Committee and eleven Executive
 Committee meetings.
      The greater frequency of ResCap Board meetings in 2006 was tied to certain substantial
 transactions implicating ResCap, namely the November 2006 closing of the Cerberus
 acquisition of a majority stake in AFI and the 2006 Bank Restructuring. Yet by late 2006, the
 pace of ResCap Board activity began to accelerate as rapidly changing market circumstances
 produced dramatic shifts in the mortgage industry. On December 12, 2006, a new business
 1   Section 2(g)(i) of the 2005 Operating Agreement required that “[AFI] shall vote for, and ResCap shall at all
     times have, at least two Independent Directors.” 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795]. Jacob
     and Melzer joined the ResCap Board concurrently on April 20, 2005, in connection with the subsequent
     execution of the 2005 Operating Agreement.

                                                       IV-1
12-12020-mg           Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                   Pg 2 of 69




 plan was presented to the ResCap Board, which included projections for 2007 and a three-year
 2007–2009 operating plan.2 The business plan and projections presented to the ResCap Board
 contemplated a long-term deterioration in the market. But, as it turned out, ResCap’s actual
 results for year-end 2006 were in fact materially worse than the related estimates presented to
 the Board less than three weeks earlier.3 These were early signs that ResCap’s forecasting
 capabilities were deficient in the face of a rapidly declining mortgage industry.
      After the first quarter of 2007, the ResCap Board met to grapple with recurring liquidity
 and net worth covenant crises for the company. The need to respond to the magnitude and
 velocity of declining conditions in the mortgage industry led to an upsurge in activity of the
 ResCap Board. The Board considered and approved multiple business plans during the course
 of 2007, reflecting periodic resets of ResCap’s operating strategies crafted to secure ResCap’s
 survival.4 Among other attempted cures to its growing financial woes, ResCap inaugurated a
 series of asset sales to its parent company in mid-2007 designed to address severe liquidity
 deficiencies. Several of these sales occurred within compressed timeframes, affording the
 ResCap Board (and particularly its Independent Directors) a narrow window within which to
 consider each transaction between negotiation and closing.5
      On September 7, 2007, the law firm of Mayer Brown made a presentation to the ResCap
 Board regarding duties owed to various constituencies by directors of a company in the “zone
 of insolvency,” including advice about the risks of engaging in potential fraudulent transfers at
 a time of financial distress.6 While Mayer Brown did not opine that ResCap was in the zone of
 2   Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, dated Dec. 12, 2006, at
     RC40006856–57 [RC40006748]; Residential Capital, LLC, ResCap Board of Directors Meeting, 2007–2009
     Operating Plan Review, dated Dec. 2006 [EXAM10468633].
 3   Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 101.
 4   Each of the three separate and superseding 2007–2009 business plans presented to the ResCap Board from
     December 2006 through September 2007—three business plans presented to a board in less than a year itself an
     extraordinary occurrence—underestimated the severity of worsening mortgage market conditions and
     overestimated ResCap’s financial performance in the face of those conditions. Minutes of a Regular Meeting of
     the Board of Directors of Residential Capital, LLC, dated Dec. 12, 2006, at RC40006856–57 [RC40006748];
     Residential Capital, LLC, ResCap Board of Directors Meeting, 2007–2009 Operating Plan Review, dated Dec.
     2006 [EXAM10468633]; Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC,
     May 11, 2007, at RC40005588–89 [RC40005558]; Minutes of a Special Meeting of the Board of Directors of
     Residential Capital, LLC, Sept. 26, 2007, at RC40005624–26 [RC40005558].
 5   See Sections III.G, VII.E.
 6   Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at
     RC40005620–21 [RC40005558]; Mayer Brown Presentation on Fiduciary Duties of Directors and Related Legal
     Issues, dated Sept. 7, 2007, at RC40012721–23 [RC40012695]. Mayer Brown gave a similar presentation
     regarding directors’ fiduciary duties in distressed financial circumstances to the AFI Board in May 2008. Minutes
     of a Special Meeting of the Board of Directors of GMAC LLC, May 30, 2008, at ALLY_PEO_0001080–81
     [ALLY_PEO_0001009]. Independent Director Jacob stated that he believed ResCap was in the “zone of
     insolvency” in August 2007, shortly before Mayer Brown gave its fiduciary duty presentation to the ResCap
     Board. Int. of T. Jacob, Nov. 7, 2012, at 63:23–64:1 (“Tom Melzer and I said hey listen, we are in the zone of
     insolvency. We want to understand the duties and responsibilities of the board members of a company which is in
     a zone of insolvency.”), 197:1–6 (“I think [the first time I thought the company was in the zone of insolvency] it
     was in—toward the third quarter, August of 2007 when they had this credit crunch.”).

                                                          IV-2
12-12020-mg           Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                  Section IV
                                                  Pg 3 of 69




 insolvency, it did advise the ResCap Board that “if insolvency (or potentially a zone of
 insolvency) is present, the Company’s directors should carefully consider the disinterestedness
 and independence of directors . . . in the context of any proposed transaction among the
 Company . . . or any of [its] respective affiliates.”7 At the same meeting, Sanjiv Khattri,
 ResCap’s CFO, delivered a ResCap consolidated review presentation to the Board; materials
 from that meeting detailed strategic considerations and major initiatives being implemented or
 contemplated to address the various financial and liquidity issues. Those initiatives included
 planned or potential asset sales, monetization of loan portfolios, expanded use of Ally Bank, a
 business restructuring, funding considerations, and a potential equity injection by AFI.8 In
 light of ResCap’s precipitously deteriorating financial performance and the Mayer Brown
 fiduciary duty presentation, the members of the ResCap Board were on notice of the
 precarious nature of ResCap’s financial condition heading into 2008.

      As 2007 progressed, the ResCap Board (and primarily its two Independent Directors) was
 being updated with greater frequency on numerous actions initiated by managers to deal with
 various financial and operational issues. The severe volatility and dislocation in market
 conditions caused ResCap to cease its origination and securitization business for non-
 conforming loans by September 2007 and to suspend its program of purchasing distressed
 mortgage loans at about the same time.9 ResCap suffered downgrades to its credit ratings,
 thereby increasing its cost of funds. Thus, over the course of 2007, the ResCap Board
 confronted an array of acute challenges and grave consequences.10

       Not surprisingly, in light of the escalating urgency of ResCap’s business hurdles, the
 ResCap Board met more often in 2007 than it had in the prior year. The ResCap Board met a
 total of twelve times in 2007, which included six “special” (i.e., not regularly scheduled)
 meetings. Further, the ResCap Board experienced substantial turnover in 2007, during which
 six new “inside” directors were appointed to the Board. Five of the new directors were
 affiliated with Cerberus (Bossidy, Jones, Kravit, de Molina, and Rossi), the first Cerberus-
 affiliated appointments to the ResCap Board following consummation of Cerberus’s purchase




 7   Mayer Brown Presentation on Fiduciary Duties of Directors and Related Legal Issues, dated Sept. 7, 2007, at
     RC40012726 [RC40012695].
 8   Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at
     RC40005621–22 [RC40005558]; ResCap Consolidated Review, dated Sept. 7, 2007, at RC40012737–40
     [RC40012695].
 9   Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 6, 18, 48, 63.
 10 See Sections III.F–G.



                                                        IV-3
12-12020-mg         Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                               Pg 4 of 69




 of its stake in AFI in late 2006.11 Three directors resigned from the ResCap Board in 2007
 (Applegate, Giertz, and Paradis),12 occasioned by the recent transition in ownership control of
 AFI.13
      The rate of ResCap Board activity escalated dramatically in 2008 and 2009 as ResCap’s
 financial problems deepened. The ResCap Board met fifty times in 2008 and eighty-seven
 times in 2009. The quality of ResCap Board conduct, however, could not keep pace with the
 frequency of meetings. The frenetic rate of ResCap Board activity hampered the Independent
 Directors’ ability to fulfill the role they were appointed to play as guardians of ResCap’s
 separateness and independence.
      As ResCap’s financial problems mounted, the Board’s original Independent Directors Jacob
 and Melzer began to feel the burden of rapid-fire activity as the frequency of Board meetings and
 management turnover spiked beyond their expectations.14 In 2008, ResCap consummated the
 greatest number of Affiliate Transactions (e.g., asset sales and financing transactions), with respect
 to which the Independent Directors paid particular scrutiny. Jacob and Melzer eventually both
 concluded that the hectic circumstances of ResCap’s fight for survival, as well as ResCap’s
 increasing dependence on its parent company, compelled their resignations from the ResCap
 Board. They resigned on April 20, 2008, three years to the day after they had joined.15 The
 following morning, Bossidy tendered his own Board resignation.16
      The immediate impetus behind the resignations of Independent Directors Jacob and
 Melzer appears to be twofold: (1) dissatisfaction with the proposed Affiliate Transaction
 through which ResCap’s $3.5 billion credit facility would be restructured, with the result that
 AFI would displace unsecured lenders and obtain a priority over certain of ResCap’s other
 11 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Mar. 23, 2007, at

  RC40005567–68 [RC40005558]; Minutes of a Special Meeting of the Board of Directors of Residential
  Capital, LLC, Aug. 21, 2007, at RC40005615 [RC40005558]; Minutes of a Regular Meeting of the Board of
  Directors of Residential Capital, LLC, Sept. 7, 2007, at RC40005619 [RC40005558]; see also Appendix
  IV.A.1—1; Appendix IV.A.1—2.
 12 Craig Chapman also became a member of the ResCap Board on April 20, 2007, but he resigned soon after, on

  July 17, 2007, apparently having attended only a single Board meeting on May 11, 2007. See Minutes of a
  Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 20, 2007, at RC40005578
  [RC40005558]; Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, May 11,
  2007, at RC40005587 [RC40005558]; Minutes of a Regular Meeting of the Board of Directors of Residential
  Capital, LLC, July 17, 2007, at RC40005602 [RC40005558].
 13 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Mar. 23, 2007, at

  RC40005567 [RC40005558] (resignation of Applegate); Minutes of a Special Meeting of the Board of
  Directors of Residential Capital, LLC, Apr. 20, 2007, at RC40005577–78 [RC40005558] (resignation of
  Giertz); Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, May 11, 2007, at
  RC40005587 [RC40005558] (resignation of Paradis).
 14 See Int. of T. Jacob, Nov. 7, 2012, 216:25–219:20; Int. of T. Melzer, Oct. 10, 2012, 161:2–20, 170:15–171:1;

  see also Appendix IV.A.1—3.
 15 See E-mail from A. de Molina (Apr. 20, 2008) [EXAM12336204]; see also E-mails between J. Jones and A. de

  Molina (Apr. 13–14, 2008) [EXAM12381623].
 16 See E-mail from P. Bossidy (Apr. 21, 2008) [EXAM12336092].



                                                     IV-4
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section IV
                                                 Pg 5 of 69




 creditors; and (2) weariness resulting from the increasingly onerous ResCap Board duties with
 which they were saddled.17 Jacob and Melzer resigned from the Board without having
 approved the $3.5 billion facility restructuring that they had resisted because they believed
 AFI was overreaching.18

       The concerns of Jacob and Melzer about their roles as ResCap’s Independent Directors,
 however, dated from an earlier period, when management turnover at ResCap began to
 proliferate. After the Cerberus acquisition in late 2006, both Jacob and Melzer felt a shift in
 dynamics on the ResCap Board. By the end of the first quarter of 2007, there was a substantial
 change in senior ResCap and AFI management, which directly affected the composition of the
 ResCap Board. After amendment of the 2005 Operating Agreement (through the 2006
 Amended Operating Agreement) deleted a provision that had previously required that “ResCap
 shall at all times . . . conduct or cause to be conducted the business operations of itself and its
 Subsidiaries by its or their own employees and officers, who will not also be employees or
 officers of any [AFI] affiliates,”19 Cerberus began to insert its own personnel into the ResCap
 and AFI organizational structures, including the entities’ boards of directors. The deletion of
 this separateness provision eventually served to dilute ResCap’s independence.

      Within four months of the Cerberus acquisition, ResCap CFO James Giertz resigned,
 citing “the random management style of Cerberus” and “the drive to dismantle the ResCap
 structure and replace it with a more substantial infrastructure within the parent company
 [AFI].”20 In November 2007, Michael Rossi, ResCap’s Board Chairman, asked Jerry
 Lombardo, then a Cerberus-affiliated ResCap advisor, to lead a team in “develop[ing] a plan
 to reconstruct [ResCap’s] governance and organization structure.”21 In response, Lombardo
 prepared a presentation entitled “ResCap Governance Project Approach Proposal,” which
 recognized the presence of ResCap “[c]ulture clashes,” observed that both AFI and Cerberus
 were “perceived to be trying to drive the bus,” and acknowledged operational issues such as
 17 Int. of T. Jacob, Nov. 7, 2012, at 212:21–218:4; Int. of T. Melzer, Oct. 10, 2012, at 159:6–161:11.

 18 Jacob and Melzer, through their counsel at Bryan Cave, went out of their way to propose revisions to certain

   April 2008 ResCap Board meeting minutes, which were never adopted. See Minutes of Prior Meetings
   April 14, April 18, and April 20, 2008: Review Comments Received From Counsel to Former Independent
   Directors After Meeting Minutes Were Approved, at RC40008502–13 [RC40008489]; Int. of T. Jacob, Nov. 7,
   2012, at 237:13–240:1; Int. of T. Melzer, Oct. 10, 2012, at 279:5–285:9, 287:12–289:15. No one from ResCap
   contacted Jacob and Melzer after their resignations, and the subsequent Independent Directors (and, indeed,
   most ResCap and AFI officers and directors)—particularly the two “super” Independent Directors appointed in
   2011 to evaluate prior Affiliate Transactions, several of which were approved by Jacob and Melzer—exhibited
   a surprising lack of curiosity as to the reason(s) for the simultaneous resignations of the Board’s original
   Independent Directors. Int. of T. Jacob, Nov. 7, 2012, at 221:12–223:14; Int. of T. Melzer, Oct. 10, 2012, at
   171:2–172:7; Int. of E. Smith, Nov. 30, 2012, at 44:16–45:4, 48:24–49:15; Int. of K. Hirtler-Garvey, Dec. 20,
   2012, at 70:14–72:6; Int. of P. West, Dec. 18, 2012, at 54:5–23; Int. of J. Ilany, Nov. 28, 2012, at 65:9–66:12;
   Int. of J. Mack, Dec. 5, 2012, at 81:9–82:12.
 19 Compare 2005 Operating Agreement, § 2(f)(vii) [ALLY_0140795], with 2006 Amended Operating
   Agreement, § 2(f).
 20 E-mail from J. Giertz (Mar. 26, 2007) [EXAM10166630].

 21 E-mail from J. Lombardo (Dec. 5, 2007) [CCM00498698].



                                                        IV-5
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                  Pg 6 of 69




 “unclear roles & responsibilities [and] overlapping, inefficient and ineffective oversight
 processes . . . .”22 Cerberus instituted numerous managerial changes to remedy the perceived
 administrative inefficiency.23

       Jacob described this management turnover as a “revolving door” and felt the frequent
 management changes were “extremely disruptive” to the operations of ResCap and Board.24
 Similarly, Melzer recalled a “parade of people” entering and exiting management in 2007,
 with the rapid ResCap and AFI management turnover akin to a “merry-go-round,” leading to a
 situation in which he was largely unfamiliar with “the executives that were driving the
 train.”25 Jacob felt that Cerberus was bringing in new people to “[put] out fires” but was
 neglecting the impact that Cerberus-directed management changes had on the rest of the
 organization.26 The initial Independent Directors were never consulted in advance with respect
 to the substantial managerial changes that affected their ResCap Board service.27 Eventually,
 they lost familiarity with and confidence in the senior ResCap management with whom they
 interacted.28

       Moreover, the rapid pace of proposed Affiliate Transactions late in the tenure of Jacob and
 Melzer convinced them that ResCap’s leverage in ongoing negotiations with AFI was waning,
 and that their opportunity for measured consideration of significant issues was a thing of the
 past. Jacob felt pressured to approve Affiliate Transactions that for him were problematic:

                   [W]e were feeling rushed the entire [first] quarter [of 2008] . . . .
                   I never met all these guys who were making the presentations
                   [to the ResCap Board] . . . . [T]hat was really extremely
                   uncomfortable with the new management that was rushing us
                   into making the decisions . . . . And here we are in 2008, a
                   distressed company, you know, kind of scrambling to find
                   liquidity and rushing the [I]ndependent [D]irectors to approve
 22 ResCap Governance Project Approach Proposal, dated Nov. 29, 2007, at 2 [CCM00498699] (emphasis in the

   original).
 23 Int. of L. Tessler, Nov. 16, 2012, at 86:4–19, 89:7–19, 115:22–116:10; Int. of E. Feldstein, Dec. 14, 2012, at

   188:19–189:20, 200:7–201:4; Int. of P. Bossidy, Dec. 14, 2012, at 120:13–121:6.
 24 Int. of T. Jacob, Nov. 7, 2012, at 60:2–63:19.

 25 Int. of T. Melzer, Oct. 10, 2012, at 63:13–64:5, 161:12–162:24, 223:3–225:17.

 26 Int. of T. Jacob, Nov. 7, 2012, at 61:6–8, 62:21–63:3.

 27 Id. at 218:24–220:10. Tellingly, Jacob and Melzer learned of the Cerberus acquisition at about the same time it

   was publicly announced. See id. at 120:12–25. To the extent that the ResCap Board was not consulted or
   informed with respect to termination of ResCap officers, the relevant sections of the 2006 ResCap LLC
   Agreement and 2008 ResCap Amended LLC Agreement, addressing the appointment and removal of ResCap
   officers, may have been violated.
 28 Int. of T. Jacob, Nov. 7, 2012, at 61:6–8, 62:23–63:2; Int. of T. Melzer, Oct. 10, 2012, at 225:24–227:6. An

   aggregate total of fourteen inside directors populated the ResCap Board during the co-terminous tenures of
   Jacob and Melzer. See Appendix IV.A.1—1.

                                                        IV-6
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                                  Pg 7 of 69




                   related party transactions [to] which we knew that we could not
                   in good conscience agree. And so, we were in a totally different
                   company [from the one we originally joined] . . . . [T]he whole
                   thing was crazy.29

       In early 2008, when Jacob and Melzer felt harried by a flurry of proposed Affiliate
 Transactions, the rest of the ResCap Board (consisting of several AFI-affiliated directors)
 unanimously approved an increase in Independent Director annual fees. After initially
 expressing gratitude, Jacob and Melzer renounced such award in March 2008 because they
 were concerned about the appearance of impropriety created by a compensation increase they
 felt was designed to entice them regarding consideration of Affiliate Transactions.30 Soon
 after, the Independent Directors decided they had endured enough on the ResCap Board and
 resigned in tandem.

       Overall, there was significant turnover and instability on the ResCap Board in 2008.
 Seven new directors were appointed (two of whom (Marano and Weintraub) were affiliated
 with Cerberus), and nine directors resigned (two of whom (Jones and Rossi) were Cerberus-
 affiliated).

      Following the resignations of Jacob and Melzer in April 2008, the ResCap Board
 appointed and then withdrew the appointments of two new directors (David DeBrunner and
 Clifford Skelton).31 AFI spearheaded the attempt to identify, recruit, and appoint two new
 Independent Directors to the ResCap Board,32 as required by the 2006 Amended Operating
 Agreement. AFI appointed James Chapman to serve as an Independent Director as of May 15,
 2008, but AFI swiftly rescinded his appointment after he attended a single Board meeting by

 29 Int. of T. Jacob, Nov. 7, 2012, at 217:3–218:13.

 30 See id. at 213:9–214:9; Int. of T. Melzer, Oct. 10, 2012, at 239:8–21; Int. of T. Jacob, Apr. 16, 2013, at

   44:23–45:3; see also Section IV.B.1.d(4).
 31 At its meeting on April 21, 2008, the ResCap Board elected three new “directors to fill the vacancies on the

   Board”: David DeBrunner (AFI VP, Corporate Controller, and Chief Accounting Officer), Clifford Skelton
   (AFI Chief Information Officer), and James Young (ResCap CFO). Minutes of a Special Meeting of the Board
   of Directors of Residential Capital, LLC, Apr. 21, 2008, at RC40005731 32 [RC40005652]. DeBrunner was
   not only absent from the meeting, but had not even been contacted prior to his appointment. See Int. of
   D. Debrunner, Sept. 13, 2012, at 52:12–53:3. On April 23, 2008, another ResCap Board meeting was
   convened at the request of ResCap’s shareholder GMAC Mortgage Group LLC, “to reassess and revise the
   composition of the ResCap Board of Directors.” See Minutes of a Special Meeting of the Board of Directors of
   Residential Capital, LLC, Apr. 23, 2008, at RC40005741 [RC40005652]. By resolution of the ResCap Board,
   the appointments of Skelton and Young were “rescinded and nullified, ab initio, as though [they] never
   occurred.” See id. A slate of eight directors was then elected, including new appointees Marano, Weintraub,
   and Linda Zukauckas. See id. The Investigation uncovered insufficient evidence to determine whether any of
   the April 21, 2008 appointees were intended to serve as Independent Directors.
 32 See E-mails between R. Hull and W. Solomon (May 15, 2008) [EXAM12337817]; E-mail between J. Jones, A.

   De Molina, and W. Solomon (May 20, 2008) [EXAM11305628]; Int. of D. DeBrunner, Sept. 13, 2012, at
   53:11–19, 65:3–66:1; Int. of T. Hamzehpour, Oct. 5, 2012, at 232:20–233:9; Int. of K. Hirtler-Garvey, Dec. 20,
   2012, at 67:20–68:5, 69:25–70:22.

                                                       IV-7
12-12020-mg         Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                               Pg 8 of 69




 telephone.33 AFI also appointed Smith as an Independent Director at the same time as
 Chapman (Smith continues to serve as of the current time, making him the longest-tenured
 Independent Director).34 AFI then appointed Hirtler-Garvey as the second Independent
 Director of the ResCap Board on June 12, 2008.35 For approximately four weeks only one
 Independent Director served on the ResCap Board.
       The newly minted Independent Directors (Smith and then Hirtler-Garvey) were promptly
 confronted by worsening market conditions, financial distress contingency planning, and a
 series of Affiliate Transactions that demanded their close scrutiny. As it turned out, the four-
 week period during which only one Independent Director (Smith) was seated on the ResCap
 Board encompassed Board approval of several Affiliate Transactions. On June 1, 2008, less
 than two weeks after he had joined the ResCap Board, Smith participated in a meeting that
 addressed a series of complex and sizeable Affiliate Transactions, which implicated contract-
 governed relationships between ResCap and two affiliated entities: (1) a proposed $3.5 billion
 senior secured facility with AFI (the terms of which in part had precipitated the resignations of
 Jacob and Melzer); (2) three commitment letters from Cerberus for the purchase of assets
 totaling $1.175 billion; (3) the sale of the Resort Finance business to AFI; (4) an amendment
 to the Secured MSR facility; and (5) the proposed Servicing Advance Factoring Facility from
 AFI. Despite a blunt admonition from AFI CEO and ResCap Director de Molina regarding the
 need for ResCap Board members with affiliations to AFI and Cerberus to take account of
 conflicts of interests that could cloud their judgment (discussed further below), the full
 ResCap Board approved these various Affiliate Transactions without abstention and with
 Smith voting as a solo Independent Director.36
       Similarly, at Hirtler-Garvey’s first ResCap Board meeting shortly thereafter on June 13,
 2008, the Board approved a waiver of a section of the 2006 Amended Operating Agreement
 (in respect of the model home transaction) that prohibited a ResCap investment in an affiliate
 entity.37 Hirtler-Garvey’s task at her very first Board meeting to review effectively and
 understand intricacies of both the 2006 Amended Operating Agreement and the proposed
 Affiliate Transaction was a challenging one.
 33 See Letter from R. Hull to J. Chapman (May 15, 2008) [EXAM10146754]; E-mail from W. Solomon
   (May 28, 2008) [EXAM11234241]; Participant List for a Meeting of the Board of Directors, Residential
   Capital, LLC, May 22, 2008, at RC40006981 [RC40006934] (identifying Chapman as a participant by
   telephone). The Investigation has revealed little about the mysterious circumstances surrounding Chapman’s
   short-lived appointment to, and speedy disappearance from, the ResCap Board. The e-mail withdrawing
   Chapman’s appointment suggests that his lack of “independence” was one of a number of factors on which
   AFI’s decision was based, and Chapman’s reply similarly acknowledges an “existing conflict.” E-mails
   between W. Solomon and J. Chapman (May 27–28, 2008) [EXAM11234241].
 34 See Letter from R. Hull to E. Smith (May 15, 2008) at EXAM10146755 [EXAM10146754].

 35 See Letter from C. Quenneville to K. Hirtler-Garvey (Jun. 12, 2008) [CCM00388535].

 36 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008, at
   RC40005749, RC40005755–56 [RC40005652]. The transactions addressed at the June 1, 2008 ResCap Board
   meeting appear to be the only Affiliate Transactions presented for approval to any Independent Directors that
   were subject to the vote of only a single Independent Director.
 37 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 13, 2008, at
   RC40005783–84 [RC40005652].

                                                     IV-8
12-12020-mg        Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                               Pg 9 of 69




       The new Independent Directors also soon addressed the imminent prospects of a ResCap
 bankruptcy. By September 2008 and over the coming months, Lazard made several
 presentations and frequent appearances as ResCap’s financial advisor at ResCap Board
 meetings as part of potential pre-bankruptcy and restructuring planning.38 On September 15,
 2008, the ResCap Board agreed to meet as frequently as needed to address market and
 business updates.39 Numerous subsequent Board meetings through early November 2008
 (including four meetings in a single week in October), led primarily by Lazard and Skadden,
 focused on bankruptcy planning and solvency issues.40 On September 23, 2008, Lazard made
 explicit to the ResCap Board what the Mayer Brown fiduciary duty presentation of a year
 earlier had implied: “ResCap’s balance sheet and current liquidity situation place it within the
 zone of insolvency and . . . the best course of action for the Directors is to act as if the
 company were insolvent and consider the best interest of all its creditors.”41

      From at least that time forward, the ResCap Board was largely focused on ResCap’s
 survival, rather than its mere stabilization. ResCap managed to secure its survival primarily
 through continuing financial support from AFI following AFI’s receipt of TARP funds, until a



 38 See, e.g., Minutes of a Reguler [sic] Meeting of the Board of Residential Capital, LLC, Sept. 12, 2008, at

  RC40005863–65 [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept.
  15, 2008, at RC40005866–67 [RC40005652]; Minutes of a Special Meeting of the Board of Residential
  Capital, LLC, Sept. 17, 2008, at RC40005868–69 [RC40005652]; Minutes of a Special Meeting of the Board
  of Residential Capital, LLC, Sept. 23, 2008, at RC40005872–74 [RC40005652]; Minutes of a Special Meeting
  of the Board of Residential Capital, LLC, Oct. 1, 2008, at RC40005875–76 [RC40005652]; Minutes of a
  Special Meeting of the Board of Residential Capital, LLC, Oct. 8, 2008, at RC40005877–79 [RC40005652];
  Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 10, 2008, at RC40005880–81
  [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 16, 2008, at
  RC40005882–83 [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct.
  17, 2008, at RC40005884–86 [RC40005652]; Minutes of a Meeting of the Board of Residential Capital, LLC,
  Oct. 20, 2008, at RC40005887–89 [RC40005652]; Minutes of a Special Meeting of the Board of Residential
  Capital, LLC, Oct. 23, 2008, at RC40005890–93 [RC40005652]; Minutes of a Special Meeting of the Board of
  Residential Capital, LLC, Oct. 28, 2008, at RC40005894–96 [RC40005652].
 39 Minutes
         of a Special Meeting of the Board of Residential Capital, LLC, Sept. 15, 2008, at RC40005867
  [RC40005652].
 40 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 23, 2008, at RC40005874

  [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 8, 2008, at
  RC40005875–76 [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC,
  Oct. 16, 2008, at RC40005882–83 [RC40005652]; Minutes of a Special Meeting of the Board of Residential
  Capital, LLC, Oct. 17, 2008, at RC40005884–85 [RC40005652]; Minutes of a Meeting of the Board of
  Residential Capital, LLC, Oct. 20, 2008, at RC40005887–88 [RC40005652]; Minutes of a Special Meeting
  of the Board of Residential Capital, LLC, Oct. 23, 2008, at RC40005891–93 [RC40005652]; Minutes of a
  Special Meeting of the Board of Residential Capital, LLC, Oct. 30, 2008, at RC40005897–98
  [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 8, 2008, at
  RC40005905 [RC40005652].
 41 Minutes of a Meeting of an Executive Session of the Board of Residential Capital, LLC, Sept. 23, 2008, at

  RC40006865 [RC40006865].

                                                     IV-9
12-12020-mg           Doc 3698-11             Filed 05/13/13 Entered 05/13/13 17:08:13                  Section IV
                                                     Pg 10 of 69




 bankruptcy filing—which had seemed imminent in 200842 and was likely deferred for years
 due to considerations relating to AFI’s circumstances—was finally deemed to be in the
 interests of both ResCap and its parent.43
       The ResCap Board continued to be extremely active (although not necessarily proactive)
 during this entire challenging period. After peaking at eighty-seven meetings in 2009 (as
 ResCap’s fragile existence persisted), the ResCap Board met twenty-six times in 2010 (after
 AFI received TARP funds), thirty-one times in 2011, and nineteen times in 2012 up until the
 Petition Date.




      Starting in 2008, the ResCap Board was advised by a coterie of legal and financial
 advisors, including the law firms Bryan Cave (counsel to Jacob and Melzer); Morrison &
 Foerster (counsel to Cerberus secondee Marano and then to the full ResCap Board); Morrison
 Cohen (counsel to the Independent Directors who succeeded Jacob and Melzer); Skadden
 (counsel to the ResCap Board); and Mayer Brown (counsel to both the ResCap and AFI
 Boards);44 as well as financial advisors and/or fairness opinion providers Morgan Stanley,
 42 For example, at a ResCap Board meeting on October 17, 2008, Skadden presented contingency and bankruptcy

   planning updates to the Board, and indicated that it had begun drafting chapter 11 bankruptcy pleadings. Minutes
   of a Special Meeting of the Board of Residential Capital, LLC, Oct. 17, 2008, at RC40005884–85 [RC40005652].
 43 See generally Sections III.I and III.J.

 44 ResCap    General Counsel Tammy Hamzehpour was not a particularly influential figure with respect to the
   functioning of the ResCap Board, especially regarding Independent Directors. See Int. of T. Jacob, Nov. 7, 2012,
   at 83:23–84:1 84:4–7; Int. of T. Melzer, Oct. 10, 2012, at 237:17–24; Int. of E. Smith, Nov. 30, 2012, at 51:7–22;
   Int. of P. West, Dec. 18, 2012, at 76:4–13, 234:13–22; Int. of J. Ilany, Nov. 28, 2012, at 89:19–90:22, 104:8–14;
   Int. of J. Mack, Dec. 5, 2012, at 98:22–99:6.

                                                       IV-10
12-12020-mg          Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section IV
                                                Pg 11 of 69




 Lazard, FTI, Goldin Associates, Houlihan Lokey, UBS, and PwC. Yet, despite the substantial
 professional resources at the ResCap Board’s disposal, the functioning of the Board suffered
 from flaws that eroded its performance.

     2. Governing Protocols Of The ResCap Board Were Not Consistently Applied

      The composition and conduct of the ResCap Board were subject to various requirements
 intended to facilitate ResCap’s independence and separateness from AFI (initially bolstering
 ResCap’s credit rating), primarily through appointment of at least two Independent Directors
 at any given time.45 The key documentary sources of ResCap Board protocol were the 2005
 Operating Agreement and the 2006 Amended Operating Agreement (collectively, the
 “Operating Agreements”) and relevant provisions in ResCap’s bond indentures.46 Certain
 Board resolutions (seemingly lifted from Cerberus Secondment Agreements) and an
 unidentified memorandum also reflected ResCap Board protocol.47

      Although the Operating Agreements did not expressly require Independent Director
 approval of all Affiliate Transactions,48 the Independent Directors nevertheless believed that
 they were obligated under governing Board protocol sources (e.g., the Operating Agreements
 and indenture provisions) to scrutinize all proposed Affiliate Transactions carefully. As a
 threshold matter, Independent Directors generally believed that the Operating Agreements
 governed their duties on the ResCap Board.49 The Independent Directors also generally
 believed (despite the technical intricacies of the Operating Agreements) that they owed
 45 In compliance with the dictates of the Operating Agreements, the ResCap Board continuously encompassed at

   least two Independent Directors, with the notable exception described above following the simultaneous
   resignations of Jacob and Melzer, when Smith was for a period of time the lone Independent Director on the
   Board in the wake of mishaps in efforts to fill the two vacancies.
 46 See Section IV.A.2.

 47 See Unanimous Written Consent of the Residential Capital, LLC, Board of Directors, dated July 14, 2008, at 1–

   2 [EXAM20213485]; Draft ResCap Special Committee Procedures, dated Aug. 8, 2008, at RC40008488
   [RC40008442]; Resolutions for Adoption by the Residential Capital, LLC, Board of Directors, dated Dec. 5,
   2011, at RC40020104–07 [RC40020073]; Minutes of a Special Meeting of the Board of Residential Capital,
   LLC, Dec. 5, 2011, at RC40018719–22 [RC40018411]. Notably, the AFI Board also adopted independent
   director governance requirements for proposed Affiliate Transactions with Cerberus above a certain monetary
   threshold, but did so shortly after the closing of the Cerberus acquisition and long before the ResCap Board
   adopted similar requirements. See GMAC LLC Board of Directors Meeting Appendix III—Report on
   Affiliated Transactions, dated Feb. 8, 2007, at 95 [ALLY_0259170] (“[A]ll new [Affiliate Transactions] are
   subject to review by . . . Independent Directors if transactions larger than $5 million.”); see also E-mail from
   J. Giertz (Feb. 13, 2007) [EXAM11371431] (referencing “a new governance requirement for any significant
   transactions with a [C]erberus affiliated company” that requires review by AFI independent directors of all
   such transactions for $5 million or more).
 48 See generally Section III.B.

 49 See Int. of T. Jacob, Nov. 7, 2012, at 127:22–23, 128:14–129:2; Int. of T. Melzer, Oct. 10, 2012, at 82:21–83:4;

   Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 109:6–12, 184:5–16. For example, Hirtler-Garvey stated that the
   2006 Amended Operating Agreement governed the responsibilities of the Special Committee, which was
   comprised of Hirtler-Garvey and Smith and, later, of West and Smith. See Int. of K. Hirtler-Garvey, Dec. 20,
   2012, at 109:6–12, 184:5–16; Int. of P. West, Dec. 18, 2012, at 118:17–22.

                                                       IV-11
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                 Pg 12 of 69




 fiduciary duties to, and were appointed to protect the interests of, ResCap’s creditors.50 For
 example, Melzer and Smith were consistently concerned with voting in the best interests of
 only ResCap and its creditors when making decisions about proposed Affiliate Transactions
 because they believed that they were obligated to do so under the Operating Agreements.51
      West and Hirtler-Garvey specifically noted that, pursuant to their understanding of the
 dictates of the 2006 Amended Operating Agreement, the fiduciary duties of the Independent
 Directors included “determin[ing] when it was appropriate to look at Affiliate Transactions,”
 which occurred whenever the proposed transactions satisfied certain criteria.52 West and Smith
 believed that the Independent Directors were required to review and obtain fairness opinions
 for every proposed Affiliate Transaction that exceeded certain monetary thresholds.53
      The initial Independent Directors began the special scrutiny of proposed Affiliate
 Transactions. Jacob believed that “it was an established governance process” that he and
 Melzer would review all proposed Affiliate Transactions, and he stated that they in fact
 convened to review every such proposed transaction.54 Jacob and Melzer believed that, as the
 only disinterested parties on the ResCap Board, they were bound to determine whether each
 proposed Affiliate Transaction was at arm’s length and for fair value.55 West also thought that,
 if a proposed transaction satisfied the criteria of an Affiliate Transaction, there were no
 circumstances under which Independent Director approval of that proposed Affiliate
 Transaction was not necessary or could be excused.56 West never recalled receiving advice to
 the effect that “the Board could decide that it did not need the Independent Directors to
 approve Affiliate Transactions under certain circumstances.”57
      Notably, Jacob and Melzer believed that either of them could have singlehandedly vetoed
 any proposed Affiliate Transaction, as long as he felt that such veto was “in the best interests
 of all the stakeholders,” particularly ResCap’s creditors.58 Smith also emphasized that the
 prerogative of the Independent Directors to approve or veto any proposed Affiliate
 50 See Int. of T. Melzer, Oct. 10, 2012, at 54:4–55:5; Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 141:16–18,

   141:25–142:4; Int. of P. West, Dec. 18, 2012, at 69:10–14, 69:21; Int. of J. Ilany, Nov. 28, 2012, 79:22–80:4;
   Int. of J. Mack, Dec. 5, 2012, 69:15–20, 69:25–70:3.
 51 See Int. of T. Melzer, Oct. 10, 2012, at 55:21–56:8, 104:1–16; Int. of E. Smith, Nov. 30, 2012, at 139:12–140:1,

   141:12–20.
 52 See Int. of P. West, Dec. 18, 2012, at 96:22–24; Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 161:4–14, 173:18–

   174:2.
 53 See Int. of E. Smith, Nov. 30, 2012, at 91:25–92:20; Int. of P. West, Dec. 18, 2012, at 70:13–18, 71:24–72:4,

   131:11–16; Int. of P. West, Jan. 11, 2013, at 139:17–140:8, 144:3–12. West stated that the Special Committee
   always had to review any proposed Affiliate Transaction with a value exceeding $10 million and obtain
   fairness opinions for transactions over $500 million. Int. of P. West, Jan. 11, 2013, at 139:17–140:7, 144:3–12.
 54 Int. of T. Jacob, Nov. 7, 2012, at 134:17–22, 134:25–135:4.

 55 Id. at 130:18–131:7; Int. of T. Melzer, Oct. 10, 2012, at 96:17–98:6.

 56 Int. of P. West, Dec. 18, 2012, at 143:9–18.

 57 Id. at 141:19–142:1.

 58 Int. of T. Jacob, Nov. 7, 2012, at 145:6–10; Int. of T. Melzer, Oct. 10, 2012, at 163:13–164:4; 199:21–200:03.



                                                        IV-12
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                Pg 13 of 69




 Transaction “was an extremely important part of [their] function” in order to ensure that the
 transaction was “fair” to ResCap’s stakeholders, specifically its creditors.59 However, although
 certain Independent Directors expressly believed that they each had effective pocket veto
 power with respect to Affiliate Transactions, they never exercised that solo veto power and
 always voted the same way.60
      Despite the fairly uniform understanding over time by the various Independent Directors
 of their fiduciary duties under governing Board protocol documents, those governance
 provisions were often applied imprecisely or loosely, perhaps because the Board protocol
 requirements in the various documentary sources were not fully consistent.61 Indeed, certain
 transactions that appeared to qualify as Affiliate Transactions, and arguably should have been
 subject to focused Independent Director assessment, were authorized by ResCap management
 outside the purview of related-party transaction protocol under the Operating Agreements and
 indenture provisions.62
      Counsel for Jacob and Melzer (Bryan Cave) specifically questioned the failure of ResCap
 management to bring to the attention of the Independent Directors a related-party transaction
 with Cerberus in November 2007.63 Hamzehpour, ResCap’s General Counsel, responded to
 the Bryan Cave attorney (James Nouss) that ResCap management had internally decided that
 such transaction was not “material” (“given the small [$3.2 million value] involved”), but that
 in any event it satisfied the “arm’s length” and “fair value” requirements of the 2006
 Amended Operating Agreement, thereby mooting the need to bring it to the Independent
 Directors to make their own separate assessment of those terms.64
      Other examples exist of inconsistent or relaxed application of ResCap Board protocol
 governing approval of proposed Affiliate Transactions. The issue of government settlement
 allocations as between ResCap and AFI appears never to have been perceived or considered by
 the ResCap Board as subject to special Independent Director scrutiny as Affiliate Transactions.65
 Similarly, various derivative transaction agreements and amendments were never reviewed by
 the ResCap Board and thus were not scrutinized as Affiliate Transactions by the Independent
 59 Int. of E. Smith, Nov. 30, 2012, at 95:21–96:10.

 60 See Int. of T. Jacob, Nov. 7, 2012, at 144:11–145:10; Int. of T. Melzer, Oct. 10, 2012, at 153:12–14, 157:23–

   159:5, 163:7–164:4; Int. of E. Smith, Nov. 30, 2012, at 96:11–21, 97:13–19.
 61 See Section IV.A.2.

 62 Even  when the protocol requirements of the Operating Agreements were technically honored, they were
   eventually eroded through recurring waivers secured in connection with various Affiliate Transactions, including
   with respect to the 2006 Bank Restructuring. Indeed, by late 2010, ResCap CEO Marano wrote in an email to AFI
   colleagues: “We are doing dumb stuff to maintain a charade of a fig leaf,” presumably referring to the debilitated
   “firewall” created through the 2006 Amended Operating Agreement. E-mail from T. Marano (Nov. 22, 2010)
   [ALLY_0359049].
 63 E-mail from J. Nouss to T. Hamzehpour (Dec. 11, 2007), at MELZER.006947 [MELZER.006946].

 64 E-mails from T. Hamzehpour to J. Nouss (Dec. 11, 19, 2007), at MELZER.006946–47 [MELZER.006946].

 65 See Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 317:20–318:5; Int. of P. West, Dec. 18, 2012, at 105:6–16; Int.

   of P. West, Jan. 11, 2013, at 53:19–56:16, 57:3–12, 58:8–59:25, 61:13–63:8; Int. of J. Mack, Jan. 15, 2013, at
   96:15–97:7, 97:18–98:14, 99:13–16, 99:24–100:16.

                                                       IV-13
12-12020-mg         Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                 Pg 14 of 69




 Directors.66 Further, an approximately $433 million in-kind dividend paid out by ResCap to GM
 in 2006 seems never to have been specifically approved by the Board, let alone by the
 Independent Directors.67 Some evidence, therefore, creates the impression that certain Affiliate
 Transactions with AFI and Cerberus entities, through either design or carelessness by ResCap’s
 management, circumvented the scrutiny of ResCap’s Independent Directors.68

     3. Board Dynamics Created Obstacles To Optimal Functioning

     The composition and conduct of the ResCap Board inhibited its optimal functioning. The
 ResCap Board was consistently populated by directors with dual affiliations. Over its history,
 43% of non-independent ResCap Board members had affiliations with either AFI, Cerberus,
 or both; until 2009, the majority of its seats were filled by dual-affiliated directors.69 The
 dynamics of the ResCap Board were thus complex, as potential conflicts loomed perpetually.

      AFI executive David Walker—who was involved in the decision to form ResCap, helped
 craft the 2005 Operating Agreement, was a founding member of the ResCap Board, and
 helped recruit original Independent Directors Jacob and Melzer—described the ResCap Board
 as having had “three heads in the room,” namely AFI, ResCap, and the set of two Independent
 Directors.70 The Board’s effectiveness in managing the intricate affiliate-entity relationships
 hinged on the diligence and skill of the Independent Directors, who contended with the three
 “heads in the room.”71
 66 Int. of T. Melzer, Oct. 10, 2012, at 245:11–22; Int. of P. West, Dec. 18, 2012, at 242:17–244:21; Int. of

   P. West, Jan. 11, 2013, at 50:21–51:3, 52:16–24.
 67 Minutes
          of a Special Meeting of the Board of Residential Capital, LLC, Dec. 12, 2006, at RC40006860
   [RC40006748]; Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 104–05.
 68 The issue of management control of information vis-à-vis the Independent Directors is discussed further below,

   including the most egregious example of possible insider manipulation of the Independent Director review
   process in connection with the 2006 Bank Restructuring. See Section V.A.1.a (providing more detail regarding
   the respective roles of inside managers and Independent Directors in the 2006 Bank Restructuring).
 69 See Appendices IV.A—2,—3.


 70 Int. of D. Walker, Nov. 28, 2012, at 46:13–15.


 71 Each of the Independent Directors possesses impressive experience and skills. But none of them previously faced

   the challenges that ResCap came to pose for them, some seemed to lack familiarity with certain key concepts at
   the core of those challenges, and collectively they had somewhat differing understandings of facets of their
   fiduciary duties, all of which may bear on the judgment they employed in their capacity as Independent Directors.
   Int. of T. Jacob, Nov. 7, 2012, at 11:7–17, 11:22–12:20, 64:4–7, 229:21–231:6; Int. of T. Melzer, Oct. 10, 2012, at
   29:2–4, 199:13–200:8, 202:10–19; Int. of E. Smith, Nov. 30, 2012, at 16:7–16, 32:12–22, 67:5–17, 71:17–22,
   73:14–75:25; Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 93:13–95:19, 117:20–118:9, 139:20–140:23, 142:5–9;
   Int. of P. West, Dec. 18, 2012, at 58:6–59:14, 62:13–64:5, 65:19–66:9, 68:23–70:18, 71:14–72:5, 93:11–18,
   96:17–97:9, 156:14–22, 157:12–23, 158:16–159:21; Int. of P. West, Jan. 11, 2013, at 179:5–180:5; Int. of J. Ilany,
   Nov. 28, 2012, at 95:1–17, 103:8–21, 203:3–6; Int. of J. Mack, Dec. 5, 2012, at 111:15–114:6, 116:4–117:21,
   118:15–25, 123:13–17; Int. of J. Mack, Jan. 15, 2013, at 137:17–24, 138:14–24, 158:9–159:11. Further, the
   Independent Directors’ personal views on ResCap’s solvency at any particular time have no bearing on the
   Examiner’s Financial Advisors’ objective analysis of whether ResCap was or was not insolvent at any such time.

                                                        IV-14
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13               Section IV
                                               Pg 15 of 69




      The specter of conflicts of interest within the ResCap Board, which routinely was either
 unrecognized or disregarded, percolated to the surface of a Board discussion at least one time.
 At a June 1, 2008 ResCap Board meeting, de Molina expressly articulated the actual conflicts
 of interest that ResCap directors had to evaluate and subdue before voting on proposed
 Affiliate Transactions involving AFI and Cerberus:

                  Mr. de Molina noted to the Board, before it took any action on
                  the proposed transactions, that there does exist for the [AFI] and
                  Cerberus members of the Board a conflict of interest, including
                  for himself as the CEO of [AFI]. He stated that if these
                  transactions do not go forward it could have a substantial
                  negative impact on [AFI] (and several Directors agreed), but
                  that, without regard to that concern, the Directors must vote in
                  the best interest only of ResCap and its creditors.72

      The frank articulation by de Molina of the challenges generated by conflicts of interest
 that all dual-affiliated ResCap directors faced when considering Affiliate Transactions seems
 unique in the annals of ResCap. There does not appear to be any other such acknowledgment
 in ResCap Board materials. Nor was any response to de Molina’s cautionary statement
 recorded in the June 21, 2008 minutes. However, one ResCap director (DeBrunner) did state
 that he resigned from the ResCap Board (on July 16, 2009) because he felt increasingly
 conflicted as a result of his dual affiliations.73

      The potential conflicts of interest that permeated the conduct of the ResCap Board were
 embodied in 2008 in the arrival of new ResCap CEO Tom Marano. In the wake of the
 Cerberus acquisition of its AFI ownership stake, numerous Cerberus employees, including
 Marano, were seconded to ResCap in an effort by Cerberus to cure the ailments of its portfolio
 company and subsidiaries. For the first year of his tenure as ResCap CEO and Board
 Chairman, Marano was employed pursuant to a Cerberus Secondment Agreement.74 Marano
 was personally represented on the ResCap Board by Morrison & Foerster attorney James
 Tanenbaum, who subsequently emerged as primary outside counsel to the ResCap Board,
 including its Independent Directors.75 Further, AFI and Cerberus representatives, including




 72 Minutes of a Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008, at RC40005754

  [RC40005652].
 73 Minutes
         of a Special Meeting of the Board of Directors of Residential Capital, LLC, July 16, 2009, at
  RC40006251; Int. of D. DeBrunner, Sept. 13, 2012, at 73:8–74:7.
 74 Minutes of a Special Meeting of the Board of Residential Capital, LLC, July 21, 2008, at RC40005828–30

  [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29, 2008, at
  RC40005948 [RC40005652]; Int. of T. Marano, Nov. 26, 2012, at 9:11–23, 193:20–194:8; Int. of K. Hirtler-
  Garvey, Dec. 20, 2012, at 74:19–22, 194:19–195:16, 198:2–13.
 75 Int. of J. Tanenbaum, Mar. 29, 2013, at 45:17–47:25.



                                                      IV-15
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                Pg 16 of 69




 inside counsel of those entities, often attended ResCap meetings, not always with apparent
 specific purpose and sometimes in connection with ResCap Board discussion of proposed
 Affiliate Transactions.76

      The independence of certain Independent Directors may also have been somewhat
 compromised because of prior ties to AFI employees as well as to Tanenbaum, the
 Morrison & Foerster attorney who arrived on the ResCap scene with Marano. Hirtler-Garvey
 and West worked together previously at Bank of America; Hirtler-Garvey helped recruit West
 to the ResCap Board; and, before joining the Board, Hirtler-Garvey and West knew various
 AFI personnel from their prior work together at Bank of America, including de Molina, who
 (in his capacity as a dual-affiliated ResCap director) recruited and appointed Hirtler-Garvey
 and West to the ResCap Board.77 Hirtler-Garvey was on the ResCap Board for approximately
 a year; she went from being a ResCap Independent Director to a full-time AFI employee, but
 she did not immediately resign from the Board upon her move to AFI (much less upon
 consideration of that employment change).78 The most recently appointed Independent
 Directors, Special Review Committee members Ilany and Mack, each had long professional
 associations with Tanenbaum, who recruited them to the ResCap Board in late 2011;79 Ilany
 and Mack then were responsible for the claims investigation that Tanenbaum’s law firm
 conducted.

     4. The Information Flow To Independent Directors Was Managed By Insiders

      The flow of significant information within the ResCap Board, and particularly the
 circulation of information to the Independent Directors of the Board, was occasionally
 deficient. By their own description, the Independent Directors did not proactively formulate or
 revise ResCap’s strategic plans but, rather, reacted to initiatives already developed and then
 brought to them by the inside directors.80 Inside directors (many with dual affiliations)
 76 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, June 13, 2008, at

  RC40005781–86 [RC40005652]; Minutes of a Special Meeting of the Board of Directors of Residential
  Capital, LLC, July 3, 2008, at RC40005801–04 [RC40005652]; Minutes of a Special Meeting of the Board of
  Directors of Residential Capital, LLC, Nov. 12, 2008, at RC40005906–08 [RC40005652]; Minutes of a Special
  Meeting of the Board of Residential Capital, LLC, May 28, 2009, at RC40006154–55 [RC40005949]; Int. of T.
  Jacob, Nov. 7, 2012, at 80:12–17; Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 146:25–147:17, 156:12–156:22,
  184:17–185:10, 263:15–264:7; Int. of P. West, Dec. 18, 2012, at 125:22–126:16.
 77 See Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 67:20–24, 68:6–69:10, 70:8–10, 75:2–5, 82:12–25, 300:16–

  301:20; Int. of P. West, Dec. 18, 2012, at 41:5–42:24, 45:25–46:3, 47:15–48:13, 95:2–7.
 78 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Jun. 13, 2008, at

  RC40005781 [RC40005652] (appointment of Hirtler-Garvey); Minutes of a Special Meeting of the Board of
  Residential Capital, LLC, June 23, 2009, at RC40006224 [RC40005949] (notice of Hirtler-Garvey
  resignation); Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 296:19–297:15.
 79 Int. of J. Ilany, Nov. 28, 2012, at 48:1–4, 49:14–53:22; Int. of J. Mack, Dec. 5, 2012, at 72:1–3, 72:11–77:4;

  Int. of J. Tanenbaum, Mar. 13, 2013, at 170:19–24, 172:1–173:15, 178:13–179:9.
 80 See Int. of T. Jacob, Nov. 7, 2012, at 101:14–104:19; Int. of T. Melzer, Oct. 10, 2012, at 291:8–16; Int. of P.

  West, Dec. 18, 2012, at 194:12–195:7; Int. of J. Ilany, Nov. 28, 2012, at 16:7–17:8; Int. of J. Mack, Dec. 5,
  2012, at 18:23–19:10.

                                                      IV-16
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                                 Pg 17 of 69




 generally vetted strategic initiatives and potential transactions within their management group
 before bringing such plans to the attention of the Independent Directors of the ResCap Board,
 which influenced the dynamics of Board meetings by presenting the Independent Directors
 with seemingly pre-packaged plans, which often lacked optionality.81

       Further, the overall pattern of interaction between ResCap and AFI seems to have been
 that potential Affiliate Transactions were generally conceptualized by the AFI Board and
 subsequently discussed with inside manager directors of the ResCap Board, who then
 proposed them to the Independent Directors of the ResCap Board when they deemed it
 appropriate. On some occasions, certain pertinent information regarding proposed Affiliate
 Transactions appears to have reached Independent Directors in either untimely fashion or not
 at all, which jeopardized the Independent Directors’ ability to assess transactions in a fully
 informed and measured manner.82 Such circumstances imperiled compliance with Board
 protocol requirements.

       An example of a pre-packaged management presentation of core and highly developed
 business strategies to the ResCap Board’s Independent Directors was the rollout of the 2007
 Restructuring Plan, discussed at a September 26, 2007 ResCap Board meeting.83 The 2007
 Restructuring Plan—which included substantial cost and headcount reductions, rationalization
 of several ResCap businesses, identification for the first time of the company’s non-core
 assets, and contingencies that included a liquidation option—was not devised or developed by
 the ResCap Board; rather, it was presented to the full ResCap Board for support.84 The Board
 at that meeting expressed support for the 2007 Restructuring Plan—including Jacob and
 Melzer, who likely heard about the plans for the first time on that day, in contrast to the inside
 directors—although it essentially (and perhaps unrealistically) forecast a $3 billion
 improvement in net income for 2008, based on a projection (later seen to be erroneous) of
 final losses for 2007.85

 81 Int. of T. Jacob, Nov. 7, 2012, at 55:6–10, 56:2–9.

 82 See id. at 216:25–218:4; Int. of T. Melzer, Oct. 10, 2012, at 266:18–23, 272:8–20, 273:1–24, 276:15–23.

 83 ResCap announced the 2007 Restructuring Plan to the public via a Form 8-K filing on October 17, 2007.

   Residential Capital, LLC, Current Report (Form 8-K) (Oct. 17, 2007), Ex. 99.1, at 1–2.
 84 Rossi, who had been appointed to the ResCap Board only weeks earlier, presented the 2007 Restructuring Plan

   to the ResCap Board. Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC,
   Sept. 26, 2007, at RC40005624–26 [RC40005558].
 85 Id. at RC40005625–26. On February 1, 2008, the ResCap Board was presented with materials detailing the

   final 2007 actual net loss of $4.3 billion, approximately one-quarter greater than the prior forecasted loss for
   the year ($3.4 billion) when the full ResCap Board expressed its support for the 2007 Restructuring Plan on
   September 26, 2007. Compare Business and Liquidity Update, ResCap Board of Directors, dated Feb. 1, 2008,
   at EXAM12125418 [EXAM12125414] and ResCap Review, ResCap Board of Directors Meeting, dated Sept.
   26, 2007, at RC40012919 [RC40012907]. ResCap’s 2008 business plan was also overly optimistic in its
   forecasts, predicting that ResCap would break even for the year despite having incurred massive losses in 2007
   and witnessing increasing degradation in the market. The ResCap Board, including its Independent Directors,
   never expressed substantial concerns about management’s ability to forecast properly or respond effectively to
   severe conditions.

                                                          IV-17
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                               Pg 18 of 69




      An example of AFI effectively dictating plans to ResCap’s management, which in turn
 shaped what was subsequently discussed (or not) by the ResCap Board, was in respect of
 ResCap’s potential application for TARP funds. When apprised of ResCap management’s
 consideration of submitting a TARP funds application on behalf of ResCap, AFI management
 rebuffed that option and asserted that AFI would alone submit a TARP application.86 The
 ResCap Board never seriously entertained the possibility of a ResCap TARP application.

       The AFI Board also expressly discussed the potential implications of a ResCap
 bankruptcy filing in 2008 during the pendency of (and following) AFI’s bank holding
 company application to the FRB. The AFI Board was informed by its advisors that a ResCap
 bankruptcy filing would be detrimental, and potentially fatal, to AFI’s bank holding company
 application, among other potentially injurious factors affecting AFI.87 AFI managers informed
 ResCap inside directors of their concerns regarding the timing of a ResCap bankruptcy, which
 in turn shaped the ResCap Board’s deliberations and decisions.88

      By 2009, the ResCap Board was grappling with successive years of: (1) multi-billion
 dollar losses; (2) a balance sheet reflecting asset values of approximately 40% of their peak
 values of just a few years earlier; (3) recurring liquidity crises and potential tangible net-worth
 covenant breaches; and (4) financial dependence on AFI for survival. Yet, despite the dire
 circumstances and numerous liquidity-related meetings, the ResCap Board relegated itself to
 reactive, rather than proactive, strategic planning. Its Independent Directors did not
 aggressively confront ResCap’s situation. Throughout the period after the resignations of
 Jacob and Melzer, AFI and its advisors provided informational updates to the ResCap Board,
 which relied on both AFI’s largesse and guidance.

        Meanwhile, the AFI Board had reached its own stark conclusions about ResCap’s future,
 viewing ResCap as a corporate burden that had to be alleviated. In a presentation to the
 U.S. Treasury on December 11, 2009, AFI described ResCap as a “millstone around the neck,
 . . . [with] no businesses that are strategic for the future,” and AFI’s challenge as “[r]esolv[ing]
 [the] ResCap [d]rag” by “neutralizing/exiting at the lowest cost.”89 In a section of the
 presentation entitled “ResCap Containment Strategy,” AFI concluded that “an in-court
 solution is counterproductive to [AFI’s] objectives,” and that “[m]ultibillion litigation risk is
 material in any in-court solution and would likely . . . delay the timing of an initial public

 86 Int. of T. Marano, Nov. 26, 2012, at 22:2–23:11, 24:9–11, 204:4–14, 205:1–3, 207:21–208:7.

 87 Minutes
         of a Special Meeting of the Board of Directors of GMAC, LLC, Oct. 31, 2008, at
  ALLY_PEO_0001307–08 [ALLY_PEO_0001009].
 88 AFI obtained bank holding company status on December 24, 2008. FEDERAL RESERVE RELEASE, FEDERAL

  RESERVE BOARD OF GOVERNORS (week ending Dec. 27, 2008), http://www.federalreserve.gov/releases/
  h2/20081227/h2.pdf. On December 29, 2008, Marano noted to the ResCap Board that AFI “view[ed] ResCap
  as an important component of its bank holding company platform and that [ResCap] offer[ed] diversification to
  [AFI’s] business model.” Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29,
  2008, at RC40005947 [RC40005652].
 89 Presentation to the U.S. Department of the Treasury: GMAC Request for SCAP Funding, dated Dec. 11, 2009,

  at 4–5 [ALLY_0231352].

                                                     IV-18
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                 Pg 19 of 69




 offering.”90 Accordingly, AFI maintained its financial support of ResCap because it continued
 to believe that a ResCap bankruptcy filing would undermine AFI’s own interests.91

       In 2010 and 2011, AFI’s advisors and officers made periodic presentations to the ResCap
 Board reflecting AFI’s deliberations about ResCap’s future.92 On November 5, 2010, Michael
 Constantino of AFI’s Capital Markets Group reported on the results of a bidding process
 orchestrated by AFI for the sale of ResCap’s assets.93 Notably, the materials presented by
 Constantino to the ResCap Board indicated that all three potential bids implied a transaction loss
 and negative cash at closing of a sale, suggesting a market view that ResCap was then insolvent.94
 There is no indication that ResCap employees or advisors were involved in the (unconsummated)
 bidding process for ResCap’s assets, nor is there any reference in ResCap Board minutes as to
 why AFI discontinued the ResCap sale process. During this period, the ResCap Board seems to
 have taken no concrete actions in response to the various presentations to it by AFI’s advisors;
 rather, it appears to have been a fairly passive audience for AFI’s strategic planning. It was not
 until late 2011 that the ResCap Board proactively initiated its own independent consideration of
 strategic alternatives through advisors that it—rather than AFI—had retained.

      The Independent Directors who succeeded Jacob and Melzer were nominally presented
 by ResCap management with strategic alternatives for ResCap’s future, but often were given
 inadequate information about the various options.95 For example, West, appointed as an
 Independent Director in 2009, did not seem to fully understand certain ResCap strategic
 alternatives, nor certain key affiliate agreements with certain AFI entities (regarding mortgage
 servicing rights and hedging) as to which she nevertheless approved amendments.96

      Perhaps the most prominent example of management control of information that likely
 influenced decision-making of ResCap Independent Directors related to the 2006 Bank
 Restructuring, which required the scrutiny of Independent Directors Jacob and Melzer.97 The

 90 Id. at 10.

 91 See generally Section III.I.

 92 See, e.g., Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 29, 2010, at

   RC40018773–74 [RC40018729] (discussing joint presentation by Oliver Wyman, Citi, and Goldman Sachs
   entitled “Strategic Evaluation of AFI’s Mortgage Business,” dated Apr. 30, 2010 [EXAM10424634]).
 93 Minutes
          of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 5, 2010, at
   RC40018846 [RC40018729].
 94 Mortgage
           Strategic Alternatives Presentation to the ResCap Board of Directors, dated Oct. 29, 2010, at
   RC40016894, RC40016897–98 [RC40016871].
 95 Int. of P. West, Jan. 11, 2013, at 7:20–11:10.

 96 Int. of P. West, Dec. 18, 2012, at 242:9–243:16, 243:20–244:4, 244:13–21; Int. of P. West, Jan. 11, 2013, at

   50:21–52:5, 52:16–24.
 97 The 2006 Bank Restructuring contemplated an investment by ResCap in an AFI affiliate, which was prohibited

   under the 2005 Operating Agreement. That proposed affiliate investment required a waiver of the 2005
   Operating Agreement that could only be obtained by affirmative vote of a majority of the Board’s two
   Independent Directors. See Section V.A.1.a.

                                                       IV-19
12-12020-mg        Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                              Pg 20 of 69




 Cerberus PSA required that Old GMAC Bank be removed from Cerberus ownership but did
 not mandate any particular future ownership structure for the Bank.98 AFI and ResCap officers
 eventually agreed that AFI would own 100% of the Bank’s voting interests, yet Jacob and
 Melzer were never informed that the option of ResCap retaining voting shares in the Bank was
 viable and, therefore, never considered whether to press for that position in negotiations with
 AFI. The Examiner is aware of no evidence suggesting that Jacob and Melzer, or their counsel
 at Bryan Cave LLP, were ever informed that ownership structures different from the one to
 which they agreed were in fact available to ResCap, despite ResCap CEO David Applegate
 having previously memorialized an alternative structure in a memorandum to AFI President
 Bill Muir, which promoted the viability and efficiency of ResCap retaining voting rights in the
 restructured bank.99 If information had freely flowed from inside managers to the Independent
 Directors regarding the option of ResCap retaining voting interests in Ally Bank, the
 transaction may have been structured very differently.100
      5. The Mandate Of The “Super Independent” Directors Was Not Completely Fulfilled
       The relevant performance of the ResCap Board has been reflected most recently in
 connection with the process through which the (now-abandoned) bankruptcy-related
 settlement with AFI was investigated and negotiated in 2011–2012. That process again
 exhibits a ResCap Board that fell short of peak performance.
      As set out more fully in Section III.J, Special Review Committee members (and most
 recently appointed Independent Directors) Ilany and Mack were asked to assess potential
 claims against both AFI and Cerberus and then potentially approve (or recommend to the
 ResCap Board that it approve) a settlement of such claims. The mandate of the Special
 Review Committee was detailed and challenging, yet it was not fulfilled according to its
 express terms. The Special Review Committee’s investigation of potential claims and
 subsequent negotiation of a proposed settlement with AFI was flawed.
       As a threshold matter, the pertinent resolutions of the ResCap Board authorized the Special
 Review Committee to investigate potential claims and to approve (or recommend for approval) a
 possible settlement of any such claims, but was silent as to its authority to negotiate the possible
 settlement of claims.101 Arguably, the resolution was designed precisely to establish a committee
 of new Independent Directors who would leave to others the negotiation of a settlement that the
 Special Review Committee would then evaluate for adequacy in light of the claims investigation it
 had supervised. That is not what occurred; Ilany and Mack investigated claims, and subsequently
 voted to approve the settlement that they themselves had negotiated.
 98  See Cerberus PSA, Exhibit H [CERB039811].
 99  Memorandum from D. Applegate to B. Muir (Apr. 24, 2006) [EXAM11248641]; see generally Section
     V.A.1.a.
 100 ResCap CEO Marano, whose tenure at ResCap post-dated the 2006 Ally Bank transaction, stated that he

     found it “odd” that ResCap maintained non-voting shares in Ally Bank, that he had “never heard” of such an
     arrangement, and that he had received no response to his inquiry about why the 2006 Bank Restructuring had
     been structured to provide ResCap with non-voting interests. Int. of T. Marano, Nov. 26, 2012, at 35:21–
     36:23.
 101 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 5, 2011, at RC40018720–22

     [RC40018411].

                                                    IV-20
12-12020-mg          Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                                  Pg 21 of 69




      Further, Ilany and Mack—self-described as “super” Independent Directors—were
 appointed for the specific task of assessing potential claims against AFI and Cerberus entities.
 That mandate was spelled out in no uncertain terms in the ResCap Board resolutions.102 Ilany
 and Mack, however, appear not to have considered any potential claims against Cerberus, as
 such potential claims were not encompassed within Morrison & Foerster’s investigation.103

      Ilany and Mack also seemed oblivious to potential conflicts relating to issues within their
 bailiwick. For example, Mack was unconcerned with potential conflict arising from Marano’s
 membership on ResCap’s Compensation Committee, which addressed (among other things)
 ResCap executives’ (including Marano’s) compensation in the form of AFI equity.104

      Similarly, Ilany and Mack were expressly authorized by ResCap Board resolutions to retain
 their own separate legal and financial advisors to fulfill their duties on the Special Review
 Committee, but they never seriously considered the option.105 As a result, Ilany and Mack relied
 (with little or no consideration of alternatives) on the counsel of Morrison Cohen and
 Morrison & Foerster, both of whom by late 2011 had longstanding associations with the ResCap
 Board, including with respect to strategic planning and Affiliate Transactions that were to be the
 subject of the Special Review Committee’s investigation.106 Ilany believed that he did not need
 to be concerned about potential conflicts of his advisors because they would have apprised him
 of any conflicts if they existed. He therefore believed that no conflicts existed because his
 advisors (including Morrison & Foerster) did not apprise him of any.107 Perhaps this apparently
 naïve belief was attributable to the fact that both Ilany and Mack were recruited to the ResCap
 Board by Tanenbaum, a Morrison & Foerster attorney who had a multi-decade professional and
 social relationship with both men leading up to their appointments to the Board.108

      The failure of “super” Independent Directors Ilany and Mack to give serious
 consideration to the option of retaining separate legal counsel to conduct the seminal
 investigation on their behalf of potential claims relating to several years’ worth of prior
 Affiliate Transactions is troubling. By the time that it commenced its investigation of potential
 102 Id. at RC40018721 [RC40018411].

 103 Morrison & Foerster’s Report on Independent Review Claims Analysis to the Residential Capital, LLC, Board

    of Directors, dated Jan. 25, 2012, at RC00023718 [RC00023710]; Int. of J. Ilany, Nov. 28, 2012, at 142:1–5;
    Int. of J. Mack, Dec. 5, 2012, at 164:16–165:7, 172:5–12, 176:10–14; Int. of J. Mack, Jan. 15, 2013, at 87:15–
    88:14.
 104 Int. of J. Mack, Dec. 5, 2012, at 63:10–67:15.

 105 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 5, 2011, at RC40018722
    [RC40018411]; Int. of J. Ilany, Nov. 28, 2012, at 118:19–119:21; Int. of J. Mack, Dec. 5, 2012, 183:8–18,
    190:14–25. Moreover, the Special Review Committee had no retention letters with any of its advisors. See Int.
    of J. Mack, Dec. 5, 2012, at 186:22–187:3.
 106 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 15, 2008, at RC40005866–

    67 [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 19, 2008, at
    RC40005870–71 [RC40005652].
 107 Int. of J. Ilany, Nov. 28, 2012, at 120:5–20.

 108 Id. at 48:1–4, 49:14–53:22; Int. of J. Mack, Dec. 5, 2012, at 72:1–3, 72:11–77:4.



                                                       IV-21
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                               Pg 22 of 69




 claims in late 2011, Morrison & Foerster had previously advised the ResCap Board with
 respect to several proposed Affiliate Transactions.

      Morrison & Foerster had been involved with ResCap Board activities since Tanenbaum
 attended a special meeting of the Board on September 19, 2008.109 In November 2008,
 Tanenbaum appears to have advised the ResCap Board about an AFI support offer, which the
 Board ultimately approved, as well as a bond exchange.110 The AFI support offer included the
 ResMor Sale to AFI, the Mitchell litigation bond, and the $320 million extension of secured
 credit by AFI.111 At the November 12, 2008 ResCap Board meeting, Tanenbaum discussed “the
 probability of deferring a ResCap bond interest payment due November 17, 2008” in the context
 of the AFI support offer.112 Tanenbaum subsequently advised the ResCap Board about the term
 sheet for a potential transaction with AFI in August 2009.113 That term sheet, which ResCap and
 its “advisors” marked up, involved AFI’s acquisition of ResCap’s origination and servicing
 assets and AFI’s forgiveness of ResCap’s debt upon closing.114 Clearly, by the time Morrison &
 Foerster launched its investigation of potential claims in late 2011, it had been advising the
 ResCap Board for several years, including with respect to Affiliate Transactions that were the
 subject of its own investigation. Yet, despite the long entanglement of Morrison & Foerster (and
 Morrison Cohen) with the ResCap Board, Ilany and Mack never pursued the option of retaining
 new legal counsel, although they were specifically authorized to do so.

      Gary Lee, current chair of Morrison & Foerster’s Business Restructuring and Insolvency
 Group and a senior member of the team that advised the ResCap Board, stated that
 Morrison & Foerster presented to the Board about the best practices for conducting an internal
 investigation and recommended the creation of the Special Review Committee (later
 comprised of Ilany and Mack) to assess the historical Affiliate Transactions that had
 previously been approved by current Board members.115 Yet the practice guide (authored by a
 Morrison & Foerster attorney) on which Lee relied in giving that advice to the ResCap Board
 109 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 19, 2008, at RC40005870

    [RC40005652]. Tanenbaum attended the September 19, 2008 meeting, likely in his capacity as counsel to
    ResCap CEO Marano, at which the Board, “its advisors,” and management discussed the potential sale of
    ResCap’s stake in Ally Bank to AFI. The minutes do not specify which advisors (including Tanenbaum)
    participated in this discussion; other advisors at this meeting included Timothy Pohl of Skadden, and Michael
    Connolly, Jack Levy, and Joseph Moldovan of Morrison Cohen.
 110 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 12, 2008, at RC40005907–8

    [RC40005652].
 111 Id. at RC40005907.

 112 Id.

 113 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Aug. 10, 2009, at RC40006277

    [RC40005949].
 114 Comments by ResCap and Its Advisors, dated Aug. 7, 2009 [RC40009421].

 115 CARL H. LOEWENSON, ETHICS OF INTERNAL INVESTIGATIONS, MORRISON & FOERSTER LLP, http://www.mofo.

    com/files/Publication/055a0d6e-c9b7-4230-b2a2-d9dad9daae94/Presentation/PublicationAttachment/34bd7647-
    30d8-4d3f-8e8c-db99dfee280e/Loewenson_Ethics_of_Internal_Investigation.pdf; Int. of G. Lee, Feb. 20, 2013,
    at 145:15–146:4, 156:7–22, 168:3–9.

                                                     IV-22
12-12020-mg           Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                Pg 23 of 69




 itself advises that “the firm that was involved in the underlying conduct [under investigation]
 is not the appropriate firm to do an internal investigation.”116 Notably, Lee did not recall any
 discussions about whether it was appropriate for Ilany and Mack to retain new legal counsel to
 conduct their claims investigation in light of Morrison & Foerster’s protracted involvement
 with the ResCap Board.117 Similarly, Tanenbaum stated that the Special Review Committee
 never raised with Morrison & Foerster the issue of retaining special counsel to conduct the
 claims investigation, and did not believe that Morrison & Foerster had ever discussed the
 issue.118

      In any event, the Special Review Committee’s assessment of potential claims was done
 through an investigation that was necessarily limited by time and access to information.119
 Ilany and Mack believed, however, that Morrison & Foerster’s investigation on their behalf
 was fully comprehensive and exhaustive.120 In their effort to fulfill their Special Review
 Committee obligations, Ilany and Mack do not appear to have given any interim investigation
 status updates to the ResCap Board leading up to Morrison & Foerster’s January 25, 2012
 claims presentation.121 Further, despite their mandate to investigate potential claims relating to
 historical Affiliate Transactions, Ilany and Mack did not seem particularly interested in the
 history of either of those related-party transactions or of ResCap’s prior consideration of a
 bankruptcy filing, nor in the legal merits of claims that emerged through the investigation.122
 Overall, conflicts and deficiencies associated with the Special Review Committee’s
 investigation diminished its utility in assessing the value of potential Estate and Third-Party
 Claims against the AFI entities.



 116 CARL H. LOEWENSON, ETHICS OF INTERNAL INVESTIGATIONS, MORRISON & FOERSTER LLP, at 10 (emphasis in

    the original), http://www.mofo.com/files/Publication/055a0d6e-c9b7-4230-b2a2-d9dad9daae94/Presentation/
    PublicationAttachment/34bd7647-30d8-4d3f-8e8c-db99dfee280e/Loewenson_Ethics_of_Internal_Investigation.pdf.
 117 Int. of G. Lee, Feb. 20, 2013, at 196:17–197:11.

 118 Int. of J. Tanenbaum, Mar. 29, 2013, at 214:11–217:5.

 119 See Section III.J.3.

 120 Int. of J. Ilany, Nov. 28, 2012, at 190:16–19, 192:13–22; Int. of J. Mack, Jan. 15, 2013, at 34:1–9, 36:1–5,

    111:3–14.
 121 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 9, 2011, at RC40018724–26

    [RC40018411]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 10, 2012, at
    RC40019179-84 [RC40019179], Minutes of a Special Meeting of the Board of Residential Capital, LLC,
    Jan. 11, 2012, at RC40019185-86 [RC40019179].
 122 The lack of interest by Ilany and Mack in ResCap’s history is striking. See Int. of J. Ilany, Nov. 28, 2012, at

    67:1–23, 73:1–74:3, 83:21–84:4, 100:13–101:6; Int. of J. Mack, Dec. 5, 2012, at 80:8–25, 110:20–111:5,
    124:4–10, 158:23–161:2; Int. of J. Mack, Jan. 15, 2013, at 116:10–20. For example, Ilany and Mack had never
    heard of original Independent Directors Jacob and Melzer despite their crucial role in ResCap’s formative
    history. Int. of J. Ilany, Nov. 28, 2012, at 65:15–66:12; Int. of J. Mack, Dec. 5, 2012, at 81:9–82:6. Similarly,
    their lack of interest in the legal merits of the potential claims they investigated and subsequently sought to
    settle is notable. See Int. of J. Ilany, Nov. 28, 2012, at 157:16–20; Int. of J. Mack, Jan. 15, 2013, at 166:24–
    172:3.

                                                        IV-23
12-12020-mg        Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                              Pg 24 of 69




 B. INDEPENDENT DIRECTOR COMPENSATION, INDEMNIFICATION, AND
    INSURANCE (YEARS 2005–2012)

     1. Independent Director Compensation, Indemnification, And Insurance

              a. Requirement To Have Independent Directors

     Since June 24, 2005, ResCap has been required to have at all times at least two
 Independent Directors. Specifically, section 2(g)(i) of the 2005 Operating Agreement states:

                  [AFI] shall vote for, and ResCap shall at all times have, at least
                  two Independent Directors. In the event of a vacancy in the
                  position of an Independent Director, whether as a result of
                  resignation, removal, or otherwise, [AFI] shall, as promptly as
                  practicable, elect a successor Independent Director. No
                  appointment of an Independent Director or successor
                  Independent Director, shall be effective until such Independent
                  Director or successor shall have (y) accepted his or her
                  appointment as an Independent Director by a written instrument,
                  which may be a counterpart signature page to this Agreement,
                  and (z) executed a counterpart to this Agreement.123

     Section 2(g)(ii) requires that the chairperson of the Audit Committee of the ResCap
 Board shall be an Independent Director.124

      The 2005 Operating Agreement defines “Independent Director” generally to include an
 individual who is not and has not been an officer, director, or employee of an AFI affiliate




 123 2005  Operating Agreement, § 2(g)(i) [ALLY_0140795]. Each Independent Director has executed a
    counterpart signature page. Independent Directors Thomas Jacob and Thomas Melzer together executed a
    counterpart signature page to the 2005 Operating Agreement. Id. at 13. Independent Directors Edward Smith,
    Karin Hirtler-Garvey, Pamela West, Jonathan Ilany, and John Mack each executed counterpart signature pages
    to the 2006 Amended Operating Agreement. See Edward F. Smith, III Signature Page for 2006 Amended
    Operating Agreement [MC-Examiner-000022]; Karin Hirtler-Garvey Signature Page for 2006 Amended
    Operating Agreement, dated June 12, 2008 [MC-Examiner-000021]; Pamela E. West Signature Page for 2006
    Amended Operating Agreement [MC-Examiner-000023]; John Mack Signature Page for 2006 Amended
    Operating Agreement, dated Nov. 16, 2011 [MC-Examiner-000024]; Jonathan Ilany Signature Page for 2006
    Amended Operating Agreement, dated Nov. 16, 2011 [MC-Examiner-000025]. The 2006 Amended Operating
    Agreement did not substantively change the provisions related to the Independent Directors.
 124 2005 Operating Agreement, § 2(g)(ii) [ALLY_0140795].



                                                    IV-24
12-12020-mg          Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section IV
                                                  Pg 25 of 69




within the three-year period immediately prior to such individual’s appointment, subject to
certain additional limitations.125

     Sections III.B.3 and IV.A.2 provide a more detailed summary and analysis of the 2005
Operating Agreement and the 2006 Amended Operating Agreement with respect to requirements
applicable to Independent Directors.

             b. Independent Director Service Dates

     The following chart sets forth the service dates of the Independent Directors:




     A chart setting forth all directors who served on the ResCap Board from 2004–2012, their
dates of service, and their affiliations can be found at Appendix IV.A—1.
125 See id. § 1. The 2005 Operating Agreement defines “Independent Director” as an individual who:


    (A) is not and has not been an officer, director or employee, and has no immediate family member that is or
    has been an officer, of any [AFI] Affiliate within the three years immediately prior to such individual’s
    appointment as an Independent Director; (B) has not received, and has no immediate family member who has
    received, during any twelve-month period in the three years immediately prior to such individual’s
    appointment as an Independent Director, more than $100,000 in direct compensation from any [AFI]
    Affiliate, other than director fees and pension and other forms of deferred compensation for prior service that
    is not contingent in any way on continued service; (C) is not employed by, and has no immediate family
    member that is an officer of, any Person that has made payments to, or received payments from, any [AFI]
    Affiliate for property or services in an amount which, in any of the last three fiscal years, exceeds the greater
    of $1 million or 2% of ResCap’s consolidated gross revenues; and (D) is reasonably believed by the then
    current directors of ResCap to be financially sophisticated and otherwise qualified to fulfill the obligations of
    an Independent Director as set forth in this Agreement. For purposes of this definition, ‘immediate family
    member’ means an individual’s spouse, parents and parents-in-law, siblings and siblings-in-law, children and
    children-in-law and anyone (other than domestic employees) who shares such individual’s home.
    Notwithstanding anything contained in clauses (A) through (D) above, any Independent Director may serve or
    have served as an Independent Director of one or more limited purpose entities organized for the purpose of
    acquiring, financing or otherwise investing, directly or indirectly, in assets or receivables originated, owned or
    serviced by any [AFI] Affiliate or ResCap Subsidiary or holding equity beneficial interest in trusts formed by
    any [AFI] Affiliate or ResCap Subsidiary.

                                                         IV-25
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                 Pg 26 of 69




               c. Independent Director Recruitment

                   (1) Thomas Melzer And Thomas Jacob

      Thomas Jacob and Thomas Melzer served as Independent Directors from April 20, 2005
 through April 20, 2008.126 Melzer stated that he was initially contacted regarding the position
 by a search firm, Crist and Company, and did not know anyone at AFI or ResCap. He met
 with ResCap Director and AFI VP Jerome Van Orman, AFI Board Chairman Eric Feldstein,
 and ResCap Co-CEOs David Applegate and Bruce Paradis.127 Jacob was initially contacted
 regarding the position by “a headhunting firm in Chicago,” and was previously familiar with
 Paradis and Applegate. He subsequently met with Van Orman, Feldstein, and Applegate.128
 ResCap VP David Walker also recalled personal involvement in recruiting the initial
 Independent Directors.129

      Jacob and Melzer were present at the April 20, 2005 meeting of the ResCap Board at
 which they were elected to serve as Independent Directors.130 Their appointments were
 announced in an AFI press release dated May 4, 2005.131 As to whether Jacob and Melzer
 were recruited by and serving as Independent Directors at the request of AFI (which, as
 discussed further in Section IV.B.2, is a prerequisite to AFI’s indemnification of such
 Independent Directors), William Solomon, General Counsel of AFI, stated in an e-mail dated
 April 14, 2008 to Jacob and Melzer:

                   Gentlemen: In response to a recent inquiry, I researched how it
                   came to be that you have become associated with ResCap as
                   independent directors of that company. I am writing on behalf of
                   [AFI] to confirm that you were originally recruited, and
                   continue to serve, as independent directors of Residential
                   Capital, LLC at the request of [AFI], the sole shareholder of that




 126 See Residential Capital, LLC Company Profile, dated Jan. 31, 2012, at 3 [EXAM00121209]; Officer Listing,

    dated Jun. 20, 2012 [ALLY_0020862]; see also Appendix IV.A.1—1.
 127 See Int. of T. Melzer, Oct. 10, 2012, 32:21–34:17; see Int. of T. Melzer, Mar. 22, 2013, 32:23–33:15.

 128 See Int. of T. Jacob, Nov. 7, 2012, at 25:6–33:11.

 129 See Int. of D. Walker, Nov. 28, 2012, at 24:16–25:16.

 130 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, Apr. 20, 2005,

    at RC40005473 [RC40005468].
 131 General Motors Acceptance Corporation, Press Release, GMAC Capitalizes New Residential Mortgage
    Subsidiary; Elects Jacob and Melzer to Board of Directors (May 3, 2005), http://media.ally.com/
    index.php?s=43&item=133.

                                                          IV-26
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                Pg 27 of 69




                  company. I trust that this e-mail communication will suffice for
                  the present but I will send each of you an original version of this
                  note, in the form of a letter, by first class mail.132

      The resignation of Jacob and Melzer after the April 20, 2008 ResCap Board meeting was
 announced at the April 21, 2008 ResCap Board meeting.133 The reasons for their resignations
 are described in Section IV.A.1.

                  (2) Edward Smith

      Edward Smith has served as an Independent Director since May 15, 2008.134 AFI
 appointed Smith to the ResCap Board.135 Smith stated that Hull had been a casual, long-time
 acquaintance.136 ResCap CEO Thomas Marano spoke with Smith over the subsequent
 weekend (May 17–18, 2008) and confirmed Smith’s qualifications.137 Unlike the process used
 to recruit Jacob and Melzer, it does not appear that AFI used an executive search firm to
 recruit Smith.138 Smith’s appointment to serve as an Independent Director was announced in a
 press release dated May 22, 2008.139
 132 E-mail from W. Solomon to T. Melzer and T. Jacob (Apr. 14, 2008) [MELZER.004778]. AFI not only recruited

    each independent director candidate, but, starting with Smith, vetted each candidate using a “Questionnaire for
    Director Independence” which requested that the candidate candidly complete and return a signed copy to AFI.
    See, e.g., Questionnaire of Edward Farrelly Smith, III [EXAM20181465]. Such Questionnaire was “modeled
    after the one used at the [AFI] Board level” and adapted to the Independent Director requirements of the 2006
    Amended Operating Agreement. See E-mail from W. Solomon (May 8, 2008) [CCM00549322]. AFI’s
    appointment of certain Independent Directors is further evidenced by the letters sent “on behalf of [AFI],”
    confirming each director’s appointment and thanking him or her “[o]n behalf of [AFI] . . . for serving as an
    Independent Director of ResCap.” See, e.g., Letter from R. Hull to E. Smith (May 15, 2008) at EXAM10146755
    [EXAM10146754]; Letter from C. Quenneville to K. Hirter-Garvey (Jun. 12, 2008) [CCM00388535].
 133 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 21, 2008, at

    RC40005731 [RC40005652]; see also E-mail from A. de Molina (Apr. 20, 2008) [EXAM12336204].
 134 See Residential Capital, LLC Company Profile, dated Jan. 31, 2012, at 2 [EXAM00121209]; Officer Listing,

    dated Jun. 20, 2012 [ALLY_0020862]; see also Appendix IV.A.1—3.
 135 See Letter from R. Hull to E. Smith (May 15, 2008) at EXAM10146755 [EXAM10146754].

 136 SeeInt. of E. Smith, Nov. 30, 2012, at 20:14–21:18; see also E-mail from R. Hull (May 15, 2008)
    [EXAM12337817] (“I approached Ted Smith, a friend of mine with capital markets and portfolio management
    background from Goldman and Bank of America. He is willing to take the other Indy spot . . . .”).
 137 E-mail from C. Quenneville (May 19, 2008) [EXAM10146753].

 138 See E-mail from R. Hull (May 15, 2008) [EXAM12337817].

 139 Residential Capital, LLC, Press Release, Independent Director Appointed to the ResCap Board (May 22,

    2008), http://media.ally.com/index.php?s=43&item=238. Such press release makes no mention of James
    Chapman, who AFI appointed as an Independent Director the same day as it did Smith, but whose
    appointment was subsequently rescinded. See Section IV.A.1. The supporting materials for the May 22, 2008
    ResCap Board meeting list Smith and Chapman as participants and the first agenda item was “Welcome New
    Independent Directors” by Marano. Hand-marked agenda and participant list for a meeting of the Board of
    Directors, Residential Capital, LLC, May 22, 2008, at RC40006980–81 [RC40006934]. Because the minutes
    for this meeting have not been produced to Examiner’s Counsel, the Examiner cannot determine if Smith’s
    appointment was subject to ratification by the ResCap Board.

                                                      IV-27
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                  Section IV
                                                 Pg 28 of 69




                   (3) Karin Hirtler-Garvey
      Karin Hirtler-Garvey served as an Independent Director from June 12, 2008 through
 June 23, 2009.140 Hirtler-Garvey was recruited by AFI CEO Alvaro de Molina and
 interviewed by Marano.141 AFI appointed Hirtler-Garvey to the ResCap Board.142
     Marano introduced Hirtler-Garvey as “the newly appointed Independent Director” in the
 ResCap Board meeting held on June 13, 2008.143 The ResCap Board then elected Hirtler-
 Garvey as a Member and Chair of the ResCap Audit Committee.144 Hirtler-Garvey’s
 appointment as an Independent Director and Chair of the ResCap Audit Committee was
 announced in a June 13, 2008 press release.145
      At the Board meeting held on June 23, 2009, Marano informed the ResCap Board that
 Hirtler-Garvey had tendered her resignation as a member of the ResCap Board and Audit
 Committee, and that at this time, “the vacated Board seat is not expected to be filled.”146
                   (4) Pamela West
      Pamela West has served as an Independent Director since May 8, 2009.147 West stated
 that she was recruited by Hirtler-Garvey, with whom she had previously worked at Bank of
 America and with whom she was friends.148 AFI appointed West to the ResCap Board.149
      Various documents list West’s date of appointment as an Independent Director as
 May 8, 2009.150 The minutes of the May 28, 2009 ResCap Board meeting list West as
 “present,” but make no reference to any ResCap Board changes.151
 140 See Residential Capital, LLC Company Profile, dated Jan. 31, 2012, at 3 [EXAM00121209]; Officer Listing,

    dated Jun. 20, 2012 [ALLY_0020862]; see also Appendix IV.A.1–3.
 141 Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 67:20–84:15.

 142 Letter from C. Quenneville to K. Hirtler-Garvey (Jun. 12, 2008) [CCM00388535].

 143 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Jun. 13, 2008, at

    RC40005781 [RC40005652].
 144 Id.

 145 Residential Capital, LLC, Press Release, Independent Director Appointed to the ResCap Board (Jun. 13,
    2008), http://media.ally.com/index.php?s=43&item=245.
 146 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Jun. 23, 2009, at
    RC40006224 [RC40005949].
 147 See Residential Capital, LLC Company Profile, dated Jan. 31, 2012, at 2 [EXAM00121209]; see also Officer

    Listing, dated Jun. 20, 2012 [ALLY_0020862].
 148 See Int. of P. West, Dec. 18, 2012, at 41:5–42:24.

 149 Id. at 45:25–46:3. West stated that she received a letter of appointment from de Molina, who she had known

    from Bank of America, “inviting [her] to join the [ResCap] board as an independent director.” Id. Examiner’s
    Counsel requested but did not receive a copy of this letter of appointment.
 150 See Residential Capital, LLC Company Profile, dated Jan. 31, 2012, at 2 [EXAM00121209]. See Officer

    Listing, dated Jun. 20, 2012 [ALLY_0020862].
 151 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, May 28, 2009, at
    RC40006154–55 [RC40005949].

                                                          IV-28
12-12020-mg          Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                 Section IV
                                                  Pg 29 of 69




                   (5) Jonathan Ilany And John Mack

       As the ResCap Board began preparing for a possible bankruptcy filing, it was expanded
 to provide for two additional Independent Directors who could assess potential legal claims
 against AFI and Cerberus entities and potentially approve (or recommend for approval) a
 settlement of any such claims.152 Jonathan Ilany and John Mack have served as Independent
 Directors since November 16, 2011.153

     Ilany stated that James Tanenbaum of Morrison & Foerster, with whom he was
 acquainted from prior professional dealings, first contacted him regarding service as an
 Independent Director.154 Subsequently, Ilany met with West and Smith, and with Marano, who
 had worked for Ilany at Bear Stearns earlier in their careers.155

      Mack recalled that Tanenbaum, with whom he was also acquainted from extensive prior
 professional dealings, first contacted him regarding service as an Independent Director.156
 Subsequently, Mack met West, with whom he was acquainted from prior dealings, and
 Smith.157 Although Mack and Ilany were interviewed on the same day, they were interviewed
 separately.158

      On November 12, 2011, AFI Legal Counsel Anita Bhama forwarded to AFI CEO
 Michael Carpenter and Ally Bank Chair Barbara Yastine an e-mail from ResCap General
 Counsel Tammy Hamzehpour regarding the pending appointment of two individuals
 (presumably Ilany and Mack) that the ResCap Board had interviewed and was recommending
 for appointment as Independent Directors.159 Bhama responded with an analysis of how AFI’s
 152 See Sections III.J.1.c and IV.A.5; Dep. of John E. Mack, Nov. 14, 2012, at 30:8–15; Int. of T. Marano, Nov.

    26, 2012, at 170:14–17; Int. of J. Ilany, Nov. 28, 2012, at 64:10–65:8. The new Independent Directors’
    mandate was set forth in ResCap Board resolutions setting up the Special Review Committee. Minutes of a
    Special Meeting of the Board of Residential Capital, LLC, Dec. 5, 2011, at RC40018721 [RC40018411].
 153 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 16, 2011, at

    RC40018710 [RC40018411]; see also Appendix IV.A.1—3.
 154 See Int. of J. Ilany, Nov. 28, 2012, at 47:25–53:23.

 155 See id. at 54:14–55:9; 57:22–58:19.

 156 See Int. of J. Mack, Dec. 5, 2012, at 72:1–77:4.

 157 See id. at 82:13–19, 83:15–85:20.

 158 See id. at 85:22–86:2. At the ResCap Board meeting on November 4, 2011, “Mr. Marano referred to
    discussions previously held regarding the appointment of two additional directors to the ResCap Board. He
    commented on the scheduling of interviews with potential candidates.” See Minutes of a Special Meeting of
    the Board of Residential Capital, LLC, Nov. 4, 2011, at RC40018700 [RC40018411]. Marano’s reference to
    “discussions previously held” does not appear to correspond to any recorded prior discussion at any meeting
    of the ResCap or AFI Boards.
 159 See E-mail from A. Bhama (Nov. 12, 2011) [ALLY_0207114]. Note that while a forwarded message is
    referenced both by Bhama’s message (“per Tammy’s Hamzehpour’s note below”) and by her subject line
    (“FW: As requested by the Board….”), the document produced to Examiner’s Counsel was redacted starting
    immediately after Bhama’s sign off (“Thanks.”), and continuing for almost two pages thereafter.

                                                        IV-29
12-12020-mg        Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                              Pg 30 of 69




 appointment of Independent Directors would trigger AFI’s indemnification liability and
 recommended that the Independent Directors be appointed by the ResCap Board.160
 Carpenter’s reply to both Bhama and Yastine instructs them to “[p]roceed as you think
 appropriate.”161 Independent Director appointment as it relates to indemnification by AFI is
 discussed further in Sections IV.B.1.e(6) and IV.B.2.a.

     The ResCap Board appointed Ilany and Mack as Independent Directors at a
 November 16, 2011 meeting of the ResCap Board.162




 160 See id.

 161 E-mail from M. Carpenter (Nov. 12, 2011) [ALLY_0207114].

 162 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 16, 2011, at

    RC40018709 [RC40018411].

                                                    IV-30
12-12020-mg    Doc 3698-11    Filed 05/13/13 Entered 05/13/13 17:08:13      Section IV
                                     Pg 31 of 69




          d. Independent Director Compensation

     The following chart sets forth a brief summary of the compensation for Independent
Directors:




                                         IV-31
12-12020-mg           Doc 3698-11       Filed 05/13/13 Entered 05/13/13 17:08:13                      Section IV
                                               Pg 32 of 69




     Appendices IV.B.1.d—1, IV.B.1.d—2, and IV.B.1.d—3, and Section IV.B.1.d(8) and
 Appendices cited therein set forth additional information regarding Independent Director
 compensation.163
      The following provides a more detailed narrative chronology of the compensation
 arrangements for Independent Directors based upon documentation and information
 received.164
                     (1) 2005 Independent Director Compensation Documentation Is Limited
     Examiner’s Counsel has requested but not received any documentation that specifies the
 compensation paid to Independent Directors for 2005.
                     (2) 2006 Independent Director Compensation Was Relatively Modest
      Jacob and Melzer were paid an annual base retainer of $100,000 and an annual $10,000
 fee for audit committee membership for 2006. Jacob also was paid an annual fee of $20,000
 for his service as audit committee chair.165
                     (3) 2007 Independent Director Compensation Included A Modest Increase In
                         Annual Base Retainer
      Jacob and Melzer were paid an annual base retainer of $110,000 and an annual $10,000
 fee for Audit Committee membership for 2007. Jacob also was paid an annual fee of $20,000
 for his service as Audit Committee Chair. Jacob and Melzer also were entitled to a pre-paid
 two-year auto lease with GM and reimbursement of expenses.166
 163 See Spreadsheet, Payment Info By Vend Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet,

    Payment Info By Vend Number, Karin Hirtler-Garvey, [EXAM00294334]; Spreadsheet reflecting payments
    to Pamela E. West [EXAM00294341]; Spreadsheet, Payment Info By Vend Number, Jonathan Ilany
    [EXAM00294335]; Spreadsheet, Payment Info By Vend Number, John E. Mack [EXAM00294337]. Similar
    charts were not provided with respect to Jacob and Melzer.
 164 Examiner’s Counsel received incomplete documentation in response to an omnibus request for production of

    all information regarding compensation for the Independent Directors, including detailed information on the
    time, form and source of payment of such compensation for each Independent Director.
 165 See E-mail from W. Hasson (Jan. 8, 2007) at EXAM10164167 [EXAM10164165] (requesting an updated

    spreadsheet for 2007 director compensation and providing that current monthly payments for Jacob and
    Melzer were $9,166.67 and $10,833.34, respectively); E-mail from D. Marple (Jan. 9, 2007)
    [EXAM10165583].
 166 Specifically,at a special meeting held on October 19, 2006, the ResCap Board discussed and approved
    Independent Director compensation for 2007. Independent Directors Jacob and Melzer were recused from the
    discussion and approval of such Independent Director compensation. The ResCap Board approved an increase
    of $10,000 in the base retainer and re-affirmed the extension of a pre-paid two-year lease on a GM vehicle and
    full reimbursement of expenses related to performing duties as an Independent Director and committee
    member. Jacob and Melzer re-joined the meeting and were apprised of the 2007 compensation plan approved
    by the ResCap Board. Minutes of a Special Meeting of the Board of Directors of Residential Capital
    Corporation, Oct. 19, 2006, at RC40006816 [RC40006748]. Such minutes do not reflect the specific amounts
    of the base retainer, committee membership fees, pre-paid auto lease or expense reimbursement limits, but see
    E-mail from D. Marple (Jan. 9, 2007) [EXAM10165583].

                                                      IV-32
12-12020-mg        Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                             Pg 33 of 69




      An e-mail from ResCap’s General Counsel Marple dated January 9, 2007 notes that
 “[r]egarding contracts with the independent directors—there are none that relate to their term
 or compensation. As with all directors, they simply serve at the discretion of ResCap’s
 shareholder.”167

                  (4) 2008 Independent Director Compensation Included An Award Of A Special
                      Payment That Was Renounced As Improper By Certain Independent
                      Directors But Continued To Be Paid

      The Independent Directors were paid an annual base retainer of $110,000 and an annual
 $10,000 fee for audit committee membership for 2008. The audit committee chair was paid an
 annual $20,000 fee.168 The 2008 Compensation Plan for Independent Directors (the
 “Compensation Plan”) makes no reference to an extension of their pre-paid two-year GM auto
 leases, and subsequent compensation plans are silent on whether such leases were provided.169

     In addition, in February 2008, the ResCap Board approved a special supplemental
 payment to each Independent Director of $100,000 per year for a three-year period, with
 annual installments to be paid on each April 1st of 2008, 2009, and 2010 (the “2008
 Supplemental Award”).170




 167 E-mail from D. Marple (Jan. 9, 2007) [EXAM10165583].

 168 The 2007 base retainer and committee fee compensation levels were extended into 2008 by the ResCap Board

   resolution approving the Proposed 2008 Compensation Plan for ResCap Independent Directors, dated Jan. 31,
   2008, at RC40007277 [RC40007261]. See Minutes of a Special Meeting of the Board of Directors of
   Residential Capital, LLC, Feb. 1, 2008, at RC40005653–54 [RC40005652]. See also Karin Hirtler-Garvey—
   Independent Board Member payment schedule [EXAM00294336] (reflecting 2008 monthly payments equal
   to an annual base retainer of $110,000, an annual $10,000 fee for audit committee membership, and an annual
   $20,000 fee for the audit committee chair).
 169 Note, however, that a week after Smith was appointed as Independent Director, Hamzehpour wrote an e-mail

   which states “Rob Hull asked me yesterday to set up Ted Smith with the appropriate compensation, car, etc.”
   E-mail from Hamzehpour (May 23, 2008) [EXAM11234420].
 170 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at

   RC40005653–54 [RC40005652] (approving the Proposed 2008 Compensation Plan for ResCap Independent
   Directors, dated Jan. 31, 2008, at RC40007277 [RC40007261]).

                                                   IV-33
12-12020-mg        Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                              Pg 34 of 69




      Specifically, at a special meeting held on February 1, 2008, the ResCap Board discussed
 and approved Compensation Plan for Independent Directors.171 Jacob and Melzer were
 recused from the discussion and approval of the Compensation Plan.172 The Compensation
 Plan is summarized in a proposal distributed to the ResCap Board (presumably excluding
 Jacob and Melzer) prior to the special meeting.173 The proposal states that:
                  Management of [AFI] and ResCap recognize the incremental
                  burdens and obligations recently placed on the independent
                  directors, particularly in the third and fourth quarters of 2007, in
                  respect of a higher than usual number of board and committee
                  meetings, the oversight of the extensive restructuring of ResCap
                  and the substantial increase in the number of material
                  transactions that require review by the directors. It is
                  management’s expectation that the [sic] ResCap’s business and
                  financial circumstances will continue to place these incremental
                  requirements on the independent directors in the near term and
                  desire to provide an additional component of compensation to
                  them as part of their compensation plan . . . .174
       The amount of the annual payment under the 2008 Supplemental Award was almost
 double the $110,000 annual base retainer then being paid to Independent Directors. The 2008
 Supplemental Award was payable without regard to whether the 2006 Amended Operating
 Agreement remained in effect through 2010 and was subject to acceleration and payment in
 full in the event of a change in control of ResCap or the termination of the 2006 Amended
 Operating Agreement.175
      When Jacob and Melzer rejoined the meeting and were apprised of the details of the
 compensation plan that the ResCap Board had just approved, “each expressed appreciation for
 the recognition of the increased responsibility and commitment required in connection with
 the appointment as Independent Directors of ResCap.”176
      During a subsequent telephonic meeting of the Special Committee of the Independent
 Directors of the ResCap Board held on March 25, 2008, Melzer raised a concern about the
 increase in Independent Director annual fees.177 The minutes state that “[i]n order to avoid
 171 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at

    RC40005653–54 [RC40005652].
 172 See id.

 173 See
       Proposed 2008 Compensation Plan for ResCap Independent Directors, dated Jan. 31, 2008, at
    RC40007277 [RC40007261].
 174 Id.

 175 See id.

 176 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Feb. 1, 2008, at
    RC40005654 [RC40005652].
 177 See Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential

    Capital, LLC, Mar. 25, 2008, at RC40006622 [RC40006611].

                                                    IV-34
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13      Section IV
                                                 Pg 35 of 69




 even an appearance of impropriety or influence, both Jacob and Melzer advised management
 that they would not accept such amount scheduled to be paid on April 1, 2008” and that
 ResCap President and CEO “Jim Jones said he would advise the Board of their decision.”178

       When interviewed, Melzer questioned the timing of the 2008 Supplemental Award,
 stating:

                   [T]hey came up with a proposal to increase our compensation
                   significantly . . . when we were right in the middle of one of
                   these related party transactions . . . . And I said—we both did,
                   said “No way. There’s no way we’re taking that compensation.
                   This is going to look like somehow our independence and
                   judgment was influenced by a large payment of that magnitude.”
                   I frankly couldn’t have believed—I couldn’t believe they
                   proposed it.179

      Jacob stated that accepting the 2008 Supplemental Award would have created “an
 appearance of impropriety” because of the many related party transactions that he and Melzer
 were then being asked to approve.180 Jacob also felt uneasy about the timing: “we were working
 very hard. It is not that we were not worth it, but in the context of all the related party
 transactions that we were asked to approve, I was uncertain about the motives for this, the
 timing . . . .”181 Asked if he thought the ResCap Board had been “trying to entice [him and
 Melzer] to approve the transactions by that hike in compensation,” Jacob stated: “Yeah, you’re
 exactly right. There was an attempt to influence us in a sense, okay. And so, we told them that
 we would not accept [the annual single sum payments of $100,000 starting that April 1] . . . .”182

      Notwithstanding such concerns, and only one day after Jacob and Melzer advised that
 they would not accept their upcoming lump sum payment, on March 26, 2008, counsel for
 Jacob and Melzer, James Nouss, wrote to Hamzehpour and proposed restructuring the
 supplemental award in the form of monthly payments equal to the same $100,000 annual
 increase, and retroactive to January 1, 2008.183 Nouss suggested the following:

                   [Jacob and Melzer] would like to propose alternatively that the
                   Board consider restructuring their approved compensation
                   adjustment to be included in 12 monthly payments in the
                   amount of $8,333.33 per month. (So, for example, Tom Melzer
                   would now receive $18,333.33 per month for his services.) This
 178 See id.

 179 Int. of T. Melzer, Oct. 10, 2012, 239:8–239:21.

 180 Int. of T. Jacob, Nov. 7, 2012, at 213:14–24.

 181 Id. at 213:20–24.

 182 Id. at 213:25–214:6.

 183 See E-mail from J. Nouss (Mar. 26, 2008) [MELZER.008841].



                                                       IV-35
12-12020-mg            Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                  Pg 36 of 69




                     change would be retroactive to January 1, 2008. Could this item
                     be added to the agenda of this week’s Board meeting in order to
                     avoid even the appearance that Tom and Tom somehow would
                     be receiving a lump-sum payment in exchange for their
                     favorable vote on matters considered at the upcoming Board
                     meeting? They would, of course, recuse themselves from
                     deliberation on this matter.184

      On March 28, 2008, the ResCap Board approved by unanimous written consent a
 resolution to restructure the 2008 Supplemental Award in accordance with Nouss’s
 proposal.185

     Although Jacob and Melzer previously had renounced the 2008 Supplemental Award,
 Hamzehpour reports that they were paid a pro rata share of the 2008 Supplemental Award for
 2008.186 However, Jacob stated that he does not believe he received any part of the 2008
 Supplemental Award.187

      The form of payment of the 2008 Supplemental Award was subsequently converted back
 to annual single sum payments188 and paid to certain Independent Directors. Smith received
 2008 Supplemental Award payments of $100,000 for each of 2008, 2009 and 2010.189 Hirtler-
 Garvey received 2008 Supplemental Award payments of $100,000 for each of 2008 and
 2009.190 West received a 2008 Supplemental Award payment of $100,000 for 2010.191
 184 Id.

 185 Unanimous Written Consent of the Board of Directors of Residential Capital, LLC, dated Mar. 28, 2008, at

    RC40005692–99 [RC40005652].
 186 See E-mail from T. Hamzehpour to R. Hull (Apr. 30, 2008) [EXAM20248306]. Hamzehpour states:


           Also, I think you’re aware, but just in case—although the supplemental compensation plan for
           2008 contemplated lump sum payments of $100K to each independent on April 1, the independent
           directors requested late in March that the supplemental comp be paid out on a monthly basis
           instead. Therefore, they both received those additional monthly installments for January–April, as
           well as their regular monthly payments. They will now receive no further payments, except for any
           expense reimbursements that they may submit related to dates prior to their resignation.
 187 Int. of T. Jacob, Apr. 17, 2013, at 46:25–47:13; see also Int. of T. Jacob, Apr. 17, 2013, at 48:18–49:7.

 188 E-mails between J. Jones and T. Hamzehpour (May 23–27, 2008) [EXAM11234420].

 189 E-mails between T. Hamzehpour and M. Brunette (May 27–30, 2008) [EXAM11306589].

 190 Karin Hirtler-Garvey—Independent Board Member payment schedule [EXAM00294336]; see also
    Spreadsheet, Payment Info By Vend Number, Karin Hirtler-Garvey [EXAM00294334].
 191 Spreadsheet reflecting payments to Pamela E. West [EXAM00294341]. Also, in an e-mail to Hamzehpour,

    West notes that Smith “has received his $100m [sic.] april bonus payment but mine must be lost in the mail.”
    E-mail from P. West to T. Hamzehpour (April 08, 2009), at EXAM10434898–99 [EXAM10434896]. Upon
    learning from Kollenberg that West’s $100,000 2008 Special Award payment for 2010 had been omitted from
    her pre-approved payment schedule, Hamzehpour requests Kollenberg’s assistance correcting West’s payment
    schedule and processing the missing payment. E-mails between T. Hamzehpour and C. Kollenberg (April 12–
    13, 2010) [EXAM10434896].

                                                        IV-36
12-12020-mg            Doc 3698-11      Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                               Pg 37 of 69




     An e-mail dated May 23, 2008 from Jones sheds light on a purpose of the 2008
 Supplemental Award:

                      Part of the idea of the supplemental payments in the first place is
                      that they automatically receive an accelerated payment if we
                      ever vote to take down the firewall. Otherwise they would be
                      voting to disband the board and cease their compensation. We
                      could arrange separate comp for them in that event, but it may
                      look like a payment for their votes. The way the supplemental
                      was originally structured they get that pay if there is a board or
                      not, and there should be no voting conflicts, real or perceived. It
                      was the Toms that felt the first annual payment coincided with
                      the Q1 bond contribution to preferred, and they did not like the
                      optics of that. So we went to monthly payments.

                      I would like to go back to annual payments each April for the
                      next two years or upon dissolution of the board, whichever is
                      first.192

                      (5) 2009 Independent Director Compensation Remained Relatively Stable

      The Independent Directors were paid an annual base retainer of $110,000 and an annual
 $10,000 fee for audit committee membership for 2009. The audit committee chair was paid an
 annual $20,000 fee.193

      Specifically, Hirtler-Garvey was paid a total of $146,666.68 in Independent Director
 compensation in 2009, with the last payment on April 24, 2009.194 Smith was paid a total of
 $320,000 in Independent Director compensation in 2009.195 West, who joined the ResCap
 Board on May 8, 2009, was paid a total of $86,666.64 in Independent Director compensation
 for 2009.196



 192 E-mail from J. Jones (May 23, 2008) [EXAM11234420].

 193 See, e.g., Spreadsheet, Payment Info By Vend Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet

    reflecting payments to Pamela E. West [EXAM00294341].
 194 Hirtler-Garvey continued to receive $11,666.67 per month through April 2009, and as noted in Section
    IV.B.1.d(4), also received an additional $100,000 in March 2009. Spreadsheet, Payment Info By Vend
    Number, Karin Hirtler-Garvey, dated Jan. 29, 2013 [EXAM00294334]. An e-mail sent January 10, 2011 from
    Kollenberg to Hamzehpour states that “[a]ccording to the payment history and old schedule for Karin Hirtler-
    Garvey, her monthly payment was $11,666.67 (aside from the additional comps received).” E-mail from C.
    Kollenberg to T. Hamzehpour (Jan. 10, 2011) [EXAM20136494].
 195 Spreadsheet, Payment Info By Vend Number, Edward F. Smith, III, dated Jan. 29, 2013 [EXAM00294352].

 196 Vendor
          Payment Activity Spreadsheet With Respect to Pamela E. West, dated Jan. 14, 2013
    [EXAM00294341].

                                                     IV-37
12-12020-mg        Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                             Pg 38 of 69




                  (6) 2010 Independent Director Compensation Remained Relatively Stable

     For 2010, the Independent Directors were paid an annual base retainer of $110,000 and an
 annual $10,000 fee for audit committee membership. The audit committee chair was paid an
 annual $20,000 fee.197

      Specifically, for 2010, West was paid $219,166.63 in Independent Director compensation
 and Smith was paid $210,000 in Independent Director compensation.198

                  (7) 2011 Independent Director Compensation Included An Increase In Base
                      And New Excess Meeting Fees

      For 2011, the Independent Directors initially were paid an annual base retainer of
 $120,000 and an annual $10,000 fee for audit committee membership. The audit committee
 chair was paid an annual $20,000 fee. The Independent Directors were paid additional
 compensation for each ResCap Board meeting of $1,500 per meeting, though subject to
 limitations described immediately below.199

      At a special telephonic meeting held on January 27, 2011, the ResCap Board discussed
 and approved Independent Director compensation for 2011.200 Smith and West were recused
 from the discussion and approval of such Independent Director compensation.201 The ResCap
 Board unanimously approved the following non-employee director compensation effective
 January 1, 2011: (1) an annual base retainer of $120,000; (2) an annual audit committee chair
 fee of $20,000; (3) an annual audit committee membership fee of $10,000; (4) additional
 compensation for ResCap Board meetings in excess of four per year of $1,500 per excess
 meeting (capped at $25,000); and (5) full reimbursement of expenses incurred in carrying out
 197 See, e.g., Spreadsheet, Payment Info By Vend Number, Edward F. Smith, III [EXAM00294352]; Spreadsheet

   reflecting payments to Pamela E. West [EXAM00294341].
 198 See Id. In e-mails exchanged on December 3, 2010, Kollenberg and Hamzehpour discuss the continuation of

   director payments for Smith and West in 2011. Hamzehpour responds that: (1) both Smith and West are still
   directors; (2) payments should continue through 2011; and (3) “[i]n fact, there may be an adjustment to the
   compensation and, if so, that would be effective in January.” E-mail from T. Hamzehpour to C. Kollenberg
   (Dec. 3, 2010) [EXAM10357376]. In a follow-up e-mail to Hamzehpour, dated January 10, 2011, Kollenberg
   notes that West received twenty payments of $10,833.33 per month for the period from June 2009 through
   November 2010, and that West had not been paid her monthly $833.33 Audit Committee Member fee and is
   due a make-up payment of $16,666.60 for her twenty missing Audit Committee Member fees. E-mail from C.
   Kollenberg to T. Hamzehpour (Jan. 10, 2011) [EXAM20136494].
 199 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 27, 2011, at RC40018421–22

   [RC40018411]. Note, however, that the annual base retainers were increased to $180,000 and all limitations
   on per meeting fees were lifted in December 2011, with payment retroactive to January 2011. See Section
   IV.B.1.d(7); see also Unanimous Written Consent of the Management Members of the Board of Directors of
   Residential Capital, LLC, dated Dec. 9, 2011, at RC40018727–28 [RC40018411].
 200 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 27, 2011, at RC40018421–22

   [RC40018411].
 201 Id. at RC40018421.



                                                   IV-38
12-12020-mg        Doc 3698-11       Filed 05/13/13 Entered 05/13/13 17:08:13                 Section IV
                                            Pg 39 of 69




 responsibilities as directors and committee members.202 The retroactive payment of
 Independent Director compensation for 2011 is discussed further in Section IV.B.1.d(8).

     In an e-mail dated January 3, 2012 from Jennifer Shank of AFI Legal Staff to
 Hamzehpour, Shank asks Hamzehpour how she should determine the meetings for which
 West and Smith previously received compensation.203 Shank notes:

                 Per Kitty’s e-mail from last week, there were 51 ResCap Board
                 and Committee meetings held in 2011, not including the
                 12/15/2011 Business Review/Executive Session, which was not
                 a regular meeting and for which minutes were not taken (see
                 below)
                                         BOARD              AUDIT             COCC
                 Q1                         5                 3                 —
                 Q2                         2                 2                 1
                 Q3                        13                 5                 4
                 Q4                        11                 3                 2
                 Total                     31                13                 7

                 According to the resolution adopted by ResCap Management on
                 12/9/2011, Pam and Ed both need to receive $60K for the
                 retainer increase that was made retroactive to 1/1/2011 and
                 should receive meeting fees past the $25K for 2011 meetings.
                 For the two new independent directors, they need the base
                 retainer of $180K as well as payment for any meetings they
                 attended since their appointment on 11/15/2011.204

                 (8) 2012 Independent Director Compensation Was Significantly Higher Than
                     Any Previous Year

      For 2012, the Independent Directors were paid an annual base retainer of $180,000 and
 an annual $10,000 fee for audit committee membership. The audit committee chair also was
 paid an annual $20,000 fee for his services as audit committee chair. The Independent
 Directors also were paid additional compensation for each ResCap Board meeting of $1,500
 per meeting.205




 202 Id. at RC40018421–22.

 203 E-mail from J. Shank to T. Hamzehpour (Jan. 3, 2012) [EXAM20136494].

 204 Id.

 205 Unanimous Written Consent of the Management Members of the Board of Directors of Residential Capital,

    LLC, dated Dec. 9, 2011, at RC40018728 [RC40018411].

                                                  IV-39
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                                Pg 40 of 69




      On December 9, 2011, the management members of the ResCap Board approved by
 unanimous written consent the proposed 2012 compensation plan for the Independent
 Directors.206 The proposal states that ResCap management:

                   [R]ecognizes the incremental burdens and obligations placed on
                   the independent directors during 2011, and anticipated during
                   2012, in respect of a higher than usual number of board and
                   committee meetings, ResCap’s unrelenting capital and liquidity
                   challenges and continuing need to evaluate material transactions
                   (including affiliate transactions) that require review by the
                   directors.207

      The proposal calls for: (1) increases in the base retainer amount from $120,000 to
 $180,000 per year; (2) the continuance of the audit committee membership fee of $10,000 and
 audit committee chair fee of $20,000 per year; (3) the continuance of the fee of $1,500 per
 meeting (but without the “in excess of four” and $25,000 cap restrictions that were in place in
 2011); and (4) the continuance of full reimbursement of expenses in carrying out
 responsibilities as directors and committee members.208 In addition, the proposal provides that:
 (1) the increased base retainer will be retroactive to January 1, 2011 for Smith and West and
 retroactive to the date of engagement for Mack and Ilany; (2) to the extent that any
 Independent Directors reach the $25,000 cap on meeting fees during 2011, the company will
 nevertheless pay any excess meeting fees; and (3) the company will pay to each Independent
 Director the meeting fees for the first four meetings each attended during 2011.209

      On May 4, 2012, the management members of the ResCap Board approved by
 unanimous written consent proposed amendments to the 2012 director compensation plan.210
 The amendments provide for additional compensation to Independent Directors who serve on
 the ResCap Board compensation committee that was established in March 2012: (1) an annual
 compensation committee membership fee of $10,000; (2) an annual compensation committee
 chair fee of $10,000; (3) a fee of $1,500 per meeting attended; and (4) full reimbursement of
 expenses incurred in carrying out the responsibilities as committee members.211 The
 amendments also approve additional compensation to Independent Directors, “in particular
 Messrs. Mack and Ilany, who have taken on additional responsibilities and are devoting a
 substantial amount of additional time related to certain strategic negotiations with executives
 206 Id. at RC40018727–28.

 207 Id. at RC40018728.

 208 Id.

 209 Id. In addition, in an e-mail dated December 30, 2011 from Hamzehpour to Kollenberg, Hamzehpour notes

    the need for retroactive adjustments in 2011 director compensation so that they will effectively have been paid
    the $180,000 base for all of 2011. E-mail from T. Hamzehpour to C. Kollenberg (Dec. 30, 2011)
    [EXAM20119671].
 210 Unanimous Written Consent of the Management Members of the Board of Directors of Residential Capital,

    LLC, May 4, 2012, at RC40019214–18 [RC40019179].
 211 Id. at RC40019217–18.



                                                      IV-40
12-12020-mg          Doc 3698-11       Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                              Pg 41 of 69




 of [AFI] and Cerberus Capital Partners in respect of the potential sale or restructuring of
 [ResCap].”212 The additional fees for such strategic negotiations were set at $1,500 per
 negotiating session (regardless of whether held in person or telephonically).213 The
 Independent Directors were required to notify ResCap’s Secretary or Assistant Secretary of all
 such meetings so that the related payments could be included in the regular quarterly
 payments of meeting fees.214
      The special fees for meetings held in 2012 were substantial. For example, in the period
 from March 1, 2012 through May 16, 2012, there were a total of eight ResCap Board
 meetings, three Audit Committee meetings, one Consent Order Compliance Committee
 Meeting, four Compensation Committee meetings (one not included in 1Q compensation) and
 twenty-nine “Negotiation Meetings/Calls with Carpenter and Lenard.”215 Independent
 Directors received a total of $112,500 in special meeting fees for such meetings.
       Studies of board of director practices and compensation indicate a trend among publicly
 traded companies to eliminate per meeting fees to simplify compensation structures. The
 Spencer Stuart Board Index reported that the number of companies paying per meetings fees in
 addition to annual retainers decreased from 70% in 2002 to approximately 33% in 2012.216
 According to a study of 240 publicly traded companies conducted by Frederick W. Cook & Co.,
 Inc., in 2012 only 51% of mid-cap companies surveyed paid per meeting fees to directors.217
 Fifty-two-percent of financial services companies surveyed paid per meeting fees.218 A 2011
 survey by The Conference Board, Inc. of 334 publicly traded companies reported that meeting
 fees comprised approximately 13% of directors’ total compensation for financial services
 companies, and approximately 21% of total compensation for directors of publicly traded
 companies with $1 billion to $9.9 billion of assets.219 By comparison, per meetings fees

 212 Id. at RC40019217.

 213 Id. at RC40019218. Based on the compensation records produced for Ilany and Mack, it appears that this

    $1,500 payment was paid on a per day rather than per event basis. See Residential Capital, LLC Independent
    Director Compensation, Apr. 1, 2012–Present, dated May 16, 2012, at EXAM00294339 [EXAM00294338].
 214 Unanimous Written Consent of the Management Members of the Board of Directors of Residential Capital,

    LLC, May 4, 2012, at RC40019218 [RC40019179].
 215 Residential
               Capital, LLC, Independent Director Compensation: Meeting Attendance Fees, Board and
    Committees, Apr. 1, 2012–Present, dated May 16, 2012 [EXAM00294338]. Note that it appears Ilany and
    Mack were compensated for each day and not by meeting or call.
 216 SPENCER STUART, 2012 SPENCER STUART BOARD INDEX (NOV. 6, 2012), 39, http://www.spencerstuart.com/

    research/articles/1621/.
 217 See FREDERIC W. COOK & CO., 2012 DIRECTOR COMPENSATIONREPORT: NON-EMPLOYEE DIRECTOR
    COMPENSATION ACROSS INDUSTRIES AND SIZE (Oct. 2012), at 10, http://www.fwcook.com/alert_letters/
    2012_Directors_Compensation_Report_Non-Employee_Director_Compensation_Across_Industries_and_Size.
    pdf.
 218 Id.

 219 Tonello, Matteo, & Judit Torok, THE 2011 U.S. DIRECTOR COMPENSATION AND BOARD PRACTICES REPORT

   (November 2, 2011), at 24–25, http://ssrn.com/abstract=2032229. THE CONFERENCE BD., THE 2011 U.S.
   DIRECTOR COMPENSATION AND BOARD PRACTICES REPORT (Nov. 2011), at 24–25, http://www.conference-
   board.org/publications/publicationdetail.cfm?publicationid=2040.

                                                    IV-41
12-12020-mg           Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                 Pg 42 of 69




accounted for approximately 41% of the total compensation paid to the ResCap Independent
Directors for 2012.220 Exhibit IV.B.1.d(8) shows the composition of total compensation for the
Independent Directors in 2012.




     It is noteworthy that other financially distressed financial services companies did not remove
caps or minimum meeting requirements from compensation plans prior to a bankruptcy filing.
Lehman reported in its 2008 Proxy Statement that the final quarterly installment of a director’s
annual retainer would be withheld if the director failed to attend at least 75% of the total number
meetings.221 Lehman Brothers only paid per meeting fees for committee meetings, not board
meetings.222 Similarly, IndyMac compensated directors for per meeting attendance of special
board functions and committee meetings over a minimum of four meetings; its directors did not
receive per meeting fees for board meetings.223




220 This calculation does not include the retroactive meeting fees paid to the Independent Directors in 2012 for 2011.

221 Lehman Brothers, Proxy Statement (Schedule 14A) (Mar. 5, 2008), at 14–15.

222 Id.

223 Indymac Bancorp, Inc., Proxy Statement (Schedule 14A) (Mar. 24, 2008), at 21.



                                                        IV-42
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section IV
                                                Pg 43 of 69




      Based on calculations by Examiner’s Financial Advisors, compensation paid to
 Independent Directors in 2012 was $409,000 to Mack, $373,000 to Ilany, $464,500 to West
 and $409,500 to Smith. The $414,000 average amount paid to Independent Directors in 2012
 is higher than the $165,000 average amount of Independent Director compensation in 2011
 and approximately twice the average amount of Independent Director compensation paid for
 the preceding four years.224
       Examiner’s Professionals obtained peer group information and compared the amount of
 compensation paid to Independent Directors with compensation paid to independent directors
 of peer group companies for the period from 2005 to the present, which is summarized in the
 charts in Appendix IV.B.1.d(8)—1 and —2. The peer group includes financially distressed
 financial services companies that either filed for bankruptcy or were sold on the brink of
 bankruptcy between 2008 and 2012. Notably, the Independent Directors’ $414,000 average
 total compensation ranks as the second highest among the peer group. Only non-employee
 directors of Countrywide received more average total compensation, $472,800, than the
 Independent Directors in the year preceding Countrywide’s sale to Bank of America.
 Lehman’s directors received $365,000 in average total compensation in the year prior to
 Lehman’s bankruptcy filing. There was no clear pattern of increasing board compensation in
 the year prior to a bankruptcy filing among financially distressed peers.
       Moreover, annual compensation paid to Independent Directors was significantly higher
 than compensation paid to independent directors of AFI. For example, average annual total cash
 compensation for the Independent Directors was $414,000 for 2012, whereas average annual
 total cash compensation for AFI’s independent directors was approximately $314,000. For more
 detail, see Appendix IV.B.1.d(8)—3, Appendix IV.B.1.d(8)—4, and Appendix IV.B.1.d(8)—5.
      Indeed, the Independent Directors’ average annual compensation is greater than the
 average compensation received by directors at some of the U.S.’s largest publicly traded
 financial institutions. For 2012, the directors of Morgan Stanley were paid an average of
 $351,080, while directors of Wells Fargo received approximately $299,429.225 Also for 2012,
 the directors of Citigroup, Bank of America, and JPMorgan received an average of $315,000,
 $275,000, and $278,194, respectively.226 By comparison, the Independent Directors received
 average annual compensation of approximately $414,000 for 2012.227
 224 Compensation paid in 2012 was significantly increased by the lump sum payment in January 2012 of
    compensation, made retroactive to 2011. The effect was a significant increase in compensation paid to the
    Independent Directors in 2012. If the retroactive fees were considered on an accrual versus on a cash basis, the
    2012 average would be $342,125, which would still exceed the average compensation paid to AFI and peer
    group independent directors in 2012.
 225 Susanne   Craig, At Banks, Board Pay Soars Amid Cutbacks, N.Y. TIMES, Mar. 31, 2013,
    http://dealbook. nytimes.com/2013/03/31/pay-for-boards-at-banks-soars-amid-cutbacks/.
 226 Id.

 227 Compensation paid in 2012 was significantly increased by the lump sum payment in January 2012 of
    compensation, made retroactive to 2011. The effect was a significant increase in compensation paid to the
    Independent Directors in 2012. If the retroactive fees were considered on an accrual versus on a cash basis, the
    2012 average would be $342,125, which would still exceed the average compensation paid to AFI and peer
    group independent directors in 2012.

                                                       IV-43
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                               Pg 44 of 69




                  (9) Other Independent Director Compensation

      With the exception of the Independent Director compensation described above (most
 notably the 2008 Supplemental Award), no documentation or information was produced that
 reflects any special payments made by ResCap, AFI, or any of their respective affiliates to the
 Independent Directors.228 Moreover, the form of payment for Independent Directors appears to
 be limited to cash payments and prepaid auto leases and does not appear to include any equity-
 based compensation of ResCap or any of its related entities.

                  (10) Source Of Independent Director Compensation

      Examiner’s Professionals have been unable to verify from the documents produced the
 source of Independent Director compensation, including both the original source of payment
 and any intercompany or affiliate accounting adjustments or charge-backs. Such information
 is important to determining whether there may be a basis to assert a claim that the Independent
 Directors breached their fiduciary duties and may have been improperly influenced by
 payments made from AFI or other affiliates of ResCap.

      Examiner’s Professionals note that AFI shared services processed ResCap Independent
 Director compensation under the direction of Hamzehpour, who sent periodic e-mails
 updating AFI shared services on the compensation due to each Independent Director.229

      Counsel for Independent Directors, Morrison Cohen, told Examiner’s Counsel that the
 Independent Directors were ultimately paid by AFI shared services from ResCap funds,
 indentifying a general ledger account number from which AFI shared services’ debited
 Independent Directors payments as an account for professional fees relating to RFC, and a
 cost center referenced on certain director invoices as a ResCap-related cost center.

                  (11) Independent Director Compensation Development

      Examiner’s Counsel did not receive sufficient documentation or information to determine
 which entity created or proposed Independent Director compensation plans each year, or
 whether outside compensation consultants or peer group information was received or
 considered in developing such compensation arrangements.

                  (12) Non-Independent Director Compensation

      As noted in Appendix IV.A.1—1, certain directors and officers of ResCap were also
 employed by one or more AFI affiliates. This is not uncommon, as many wholly owned
 subsidiaries often share officers, directors, and employees with their parents.
 228 For example, in his Rule 9019 deposition of November 14, 2012, Mack confirmed that he did not have any

    additional director incentive compensation. See Dep. of J. Mack, Nov. 14, 2012, at 24:15–25:2.
 229 See, e.g., E-mails between T. Hamzehpour and C. Kollenberg (Apr. 12–13, 2008) [EXAM10434896];
    E-mail from T. Hamzehpour to M. Brunette (May 27, 2008) [EXAM11306589]; E-mail from T. Hamzehpour
    to C. Kollenberg (Dec. 3, 2010) [EXAM10357376].

                                                     IV-44
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                               Pg 45 of 69




      As is not uncommon for employees of a wholly owned subsidiary or dual service directors,
 certain senior ResCap executives earned deferred incentive compensation based on parent AFI’s
 value and performance and were paid AFI equity-based compensation, including restricted stock
 units. Appendix IV.B.1.d(12) sets forth a summary of compensation paid to ResCap directors
 and officers that were not Independent Directors, including directors and officers who served in
 a dual capacity with both ResCap and AFI.

      It is important to note that at least one ResCap director, Marano, was considered among
 the top twenty-five most highly paid individuals of AFI and its subsidiaries. In recent
 testimony before the U.S. House of Representatives oversight panel, Rep. Jim Jordan (R.
 Ohio) “took aim at special paymaster Patricia Geoghegan who approved $8 million in
 compensation for ResCap Chief Executive Tom Marano just weeks before the company filed
 for Chapter 11.”230 In response, Special Paymaster Patricia Geoghegan noted that “[t]he salary
 was at the request of [the] ResCap board of directors.”331 AFI spokeswoman Gina Proia told
 the Wall Street Journal that “Tom Marano’s compensation for periods following ResCap filing
 for bankruptcy is the responsibility of ResCap, not [AFI].”332 Proia added that Marano, a
 former Bear Stearns executive, is seeking compensation for 2013 of $2 million.333

      Debtors sought and obtained approval from the U.S. Treasury’s Office of the Special
 Master to have any deferred compensation elements arising after the Petition Date to be issued
 in the form of deferred cash rather than AFI stock units, so that postpetition compensation to
 ResCap employees is not tied to the value of AFI stock.334

              e. Indemnification Of ResCap Directors And Officers

      This Section summarizes the entity indemnification as between ResCap and AFI and the
 indemnification provisions applicable to ResCap directors and officers, including Independent
 Directors.

                  (1) 2005 And 2006 Operating Agreements—Entity Indemnification

      Pursuant to the 2005 Operating Agreement and the 2006 Amended Operating Agreement,
 AFI agrees to indemnify and hold harmless ResCap and its subsidiaries against certain losses,
 including liabilities related to or arising “from and against any Losses related to [AFI]




 230 Patrick Fitzgerald, Lawmakers Grill Treasury on ResCap Executive Pay, WALL ST. J., Feb. 27, 2010,

    http://blogs.wsj.com/bankruptcy/2013/02/27/lawmakers-grill-treasury-on-rescap-executive-pay/.
 331 Id.

 332 Id.

 333 Id.

 334 See Debtors’ Submission Paper, April 11, 2013, at 17–18.



                                                     IV-45
12-12020-mg          Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section IV
                                                  Pg 46 of 69




 Indemnifiable Liabilities.”335 Specifically excluded are liabilities related to or arising from and
 against any Losses related to GM Indemnifiable Liabilities, for which GM is responsible.336
 ResCap, in turn, agrees to indemnify and hold harmless GM, AFI, and their affiliates from and
 against any Losses related to ResCap Indemnifiable Liabilities.337

                   (2) ResCap By-Laws

      Pursuant to section 6.1 of the ResCap By-Laws, ResCap was required to indemnify and
 advance expenses to every director and officer in the manner and to the full extent permitted
 by applicable law.338 In particular, such section provides that:

                   Subject to the other provisions of this article, the corporation
                   shall indemnify and advance expenses to every director and
                   officer (and to such person’s heirs, executors, administrators or
                   other legal representatives) in the manner and to the full extent
                   permitted by applicable law as it presently exists, or may
                   hereafter be amended, against any and all amounts (including
                   judgments, fines, payments in settlement, attorneys’ fees and
                   other expenses) reasonably incurred by or on behalf of such
                   person in connection with any threatened, pending or completed
                   action, suit or proceeding, whether civil, criminal,
                   administrative or investigative (“a proceeding”), in which such
                   director or officer was or is made or is threatened to be made a
                   party or is otherwise involved by reason of the fact that such
                   person is or was a director or officer of the corporation, or is or
                   was serving at the request of the corporation as a director,
                   officer, employee, fiduciary or member of any other
                   corporation, partnership, joint venture, trust, organization or

 335 2005  Operating Agreement, § 3(b) [ALLY_0140795]; 2006 Amended Operating Agreement, § 3(b)
    [ALLY_0041818]. AFI Indemnifiable Liabilities are defined as “all Liabilities of any [AFI] Affiliate to the
    extent such Liabilities (a) relate to, (b) arise out of or (c) result principally from any of the following items:
    (i) the failure of any [AFI] Affiliate to pay, perform or otherwise promptly discharge any Liabilities of such
    [AFI] Affiliate in accordance with their terms; or (ii) the [AFI] Affiliate Business.” Id.
 336 See  2005 Operating Agreement, § 3(a) [ALLY_0140795]; 2006 Amended Operating Agreement, § 3(a)
    [ALLY_0041818]. GM Indemnifiable Liabilities are defined as “all Liabilities of any GM Affiliate to the
    extent such Liabilities (a) relate to, (b) arise out of or (c) result principally from any of the following items:
    (i) the failure of any GM Affiliate to pay, perform or otherwise promptly discharge any Liabilities of such GM
    Affiliate in accordance with their terms; or (ii) the GM Affiliate Business.” Id.
 337 See  2005 Operating Agreement, § 3(c) [ALLY_0140795]; 2006 Amended Operating Agreement, § 3(c)
    [ALLY_0041818]. ResCap Indemnifiable Liabilities are defined as “all Liabilities of ResCap or any of its
    Subsidiaries to the extent such Liabilities (a) relate to, (b) arise out of or (c) result principally from any of the
    following items: (i) the failure of ResCap or any of its Subsidiaries to pay, perform or otherwise promptly
    discharge any Liabilities of ResCap or such Subsidiary, as the case may be, in accordance with their terms; or
    (ii) the ResCap Business.” Id.
 338 ResCap By-Laws, § 6.1 [EXAM12325305].



                                                         IV-46
12-12020-mg          Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                Pg 47 of 69




                   other enterprise. The corporation shall not be required to
                   indemnify a person in connection with a proceeding initiated by
                   such person if the proceeding was not authorized by the board of
                   directors of the corporation.339

      The ResCap By-Laws also include detailed provisions with respect to the advancement of
 expenses of directors and officers, claims by officers and directors, non-exclusivity of rights,
 offsets for other indemnification, indemnification insurance and other related terms. Such
 provisions of the ResCap By-Laws are relevant with respect to claims for indemnification
 from ResCap that relate to periods prior to conversion of ResCap from a corporation to a
 limited liability company.

                   (3) 2006 ResCap LLC Agreement

     The 2006 ResCap LLC Agreement provides for exculpation and indemnification of
 ResCap directors and officers.340

      Specifically, section 17 of the 2006 ResCap LLC Agreement sets forth an exculpation
 provision which provides, in pertinent part, that no director, officer or employee of ResCap or
 any subsidiary of ResCap (each a “Covered Person”) will be liable to ResCap or any person
 bound by such agreement for any loss, damage, or claim incurred by reason of any act or
 omission performed or omitted by such Covered Person in good faith on behalf of ResCap and
 in a manner reasonably believed to be within the scope of the Covered Person’s authority,
 except for any loss, damage or claims incurred by reason of such covered person’s willful
 misconduct or bad faith.341 As a result, claims that relate to acts or omissions performed or
 omitted by ResCap directors and officers in good faith and in a manner reasonably believed to
 be within the scope of such director or officer’s authority have been exculpated by ResCap.342

      Section 18 of the 2006 ResCap LLC Agreement provides, subject to limitations set forth
 therein and “to the fullest extent permitted by applicable law,” for indemnification of Covered
 Persons for acts or omissions of the Covered Person performed in good faith on behalf of
 ResCap and in a manner reasonably believed to be within the scope of authority conferred on
 such Covered Person by such agreement.343

      The 2006 ResCap LLC Agreement indemnification provisions do not provide
 indemnification in respect of: (1) the Covered Person’s willful misconduct or bad faith with
 respect to such acts or omissions; (2) claims, issues, or matters to which the Covered Person is
 339 Id.

 340 2006 ResCap LLC Agreement, §§ 17, 18 [KL000000474].

 341 Id. § 17 (“Any repeal or modification of this Section 17 shall not adversely affect any right or protection of a

    Covered Person existing hereunder with respect to any act or omission occurring prior to such repeal or
    modification.”).
 342 See Section VII.E.1.g(3).

 343 2006 ResCap LLC Agreement, §18(a) [KL000000474].



                                                       IV-47
12-12020-mg             Doc 3698-11            Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                                      Pg 48 of 69




 determined to be liable to ResCap, unless a court determines that the Covered Person is entitled
 to such indemnification; (3) claims initiated by the Covered Person (other than claims for
 indemnification and claims authorized or consented to by the ResCap Board); (4) settlements
 entered into without the prior written consent of ResCap, which consent shall not be
 unreasonably withheld; and (5) certain other matters.344 Importantly, the 2006 ResCap LLC
 Agreement makes clear that the indemnification provided pursuant to section 18 thereof “shall
 be provided out of and to the extent of Company assets only, and the Member shall not have
 personal liability on account thereof.”345 The 2006 ResCap LLC Agreement contains detailed
 indemnification provisions, including provisions on successful defense, partial indemnification,
 advancement of payment of expenses, notification and defense of claims, and procedures for
 indemnification.346

                       (4) 2008 ResCap Amended LLC Agreement

      The 2006 ResCap LLC Agreement was amended and restated, effective as of
 March 31, 2008, to reflect the addition of AFI as a preferred member and the issuance of
 Preferred Units (as defined therein) to AFI.347 The exculpation and indemnification provisions
 generally do not appear to be substantively changed in the 2008 ResCap Amended LLC
 Agreement.348

                       (5) ResCap Indemnification Agreements With Independent Directors

      ResCap entered into an Indemnification Agreement with Melzer dated as of
 June 21, 2005,349 and into Amended and Restated Indemnification Agreements with Jacob and
 344 See id. § 18(a)(i), (a)(iii), (h), (i).

 345 Id. § 18(a)(i).

 346 See Id. § 18.

 347 2008 ResCap Amended LLC Agreement [KL000000433].

 348 However, the indemnification provision in the 2006 ResCap LLC Agreement, § 18(a)(i) [KL000000474],

    which states that “the Member shall not have personal liability on account thereof,” was amended to read as
    follows in the 2008 ResCap Amended LLC Agreement, § 18(a)(i) [KL000000433]: “no Member shall have
    personal liability on account thereof.”
 349 Indemnification Agreement between Residential Capital, Corporation and Thomas Melzer, dated June 21, 2005

    [MELZER.000886]. Examiner’s Counsel believes that ResCap entered into a similar Indemnification Agreement
    with Jacob dated on or about June 21, 2005. See Minutes of the Annual Meeting of the Board of Directors,
    Residential Capital Corporation, Jun. 21, 2005, at RC40005518–19 [RC40005468] (showing that the ResCap Board
    authorized certain executive officers of ResCap to enter into and execute indemnification agreements with Jacob and
    Melzer, of same scope as afforded to directors in the ResCap By-Laws); Minutes of a Special Meeting of the Board
    of Directors, Residential Capital Corporation, Oct. 19, 2006, at RC40006812 [RC40006748] (recapping that ResCap
    Director David Walker “referred to previously approved indemnification agreements with each of the Independent
    Directors”); Amended and Restated Indemnification Agreement between Residential Capital, LLC and Thomas
    Jacob, dated Oct. 24, 2006 [EXAM00296828] (amending, presumably, ResCap’s original Indemnification
    Agreement with Jacob). However, the original Indemnification Agreement for Jacob was requested and not
    produced.

                                                        IV-48
12-12020-mg        Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section IV
                                               Pg 49 of 69




 Melzer dated as of October 24, 2006350 (collectively, the “Individual Indemnification
 Agreements”). ResCap does not appear to have entered into any individual indemnification
 agreements with any other Independent Director.

      The indemnification provisions set forth in the Individual Indemnification Agreements
 provide that ResCap will indemnify the Indemnitees (Jacob and Melzer):

                  [I]f Indemnitee is a party or is threatened to be made a party to
                  any threatened, pending or completed action, suit or proceeding,
                  whether civil, criminal, administrative or investigative, by
                  reason of the fact that Indemnitee is or was or has agreed to
                  serve at the request of [ResCap] as a director of [ResCap], or
                  while serving as a director of [ResCap] or by reason of any
                  action alleged to have been taken or omitted in such capacity.351

      Indemnification is provided only if “Indemnitee acted in good faith and in a manner
 Indemnitee reasonably believed to be in or not opposed to the best interests of [ResCap], and
 with respect to any criminal action, suit or proceeding, had no reasonable cause to believe
 Indemnitee’s conduct was unlawful.”352 The Individual Indemnification Agreements contain a
 number of other exclusions, including exclusions for claims, issues or matters as to which
 Indemnitee shall have been adjudged to be liable to ResCap, unless a court determines that the
 Indemnitee is entitled to such indemnification.353 The Amended and Restated Indemnification
 Agreements contain other exclusions that are consistent with the 2006 ResCap LLC
 350 Amended and Restated Indemnification Agreement between Residential Capital, LLC and Thomas Jacob, dated

   Oct. 24, 2006 [EXAM00296828]; Amended and Restated Indemnification Agreement between Residential
   Capital, LLC and Thomas Melzer, dated Oct. 24, 2006 [EXAM00296838]. In a special meeting of the ResCap
   Board held on October 19, 2006, ResCap Director David Walker “recommended approval of updated
   indemnification agreements [with each of the Independent Directors] to reflect changes related to the conversion
   of ResCap to a limited liability company.” Minutes of a Special Meeting of the Board of Directors, Residential
   Capital Corporation, Oct. 19, 2006, at RC40006812 [RC40006748]. At this meeting, the ResCap Board approved
   the form and execution of amended indemnification agreements with each of the Independent Directors in
   substantially the form presented at such meeting. Minutes of a Special Meeting of the Board of Directors,
   Residential Capital Corporation, Oct. 19, 2006, at RC40006813 [RC40006748].
 351 Indemnification Agreement between Residential Capital, Corporation and Thomas Melzer, dated June 21,

   2005, § 1(a) [MELZER.000886]; Amended and Restated Indemnification Agreement between Residential
   Capital, LLC and Thomas Jacob, dated Oct. 24, 2006 [EXAM00296828], § 1(a); Amended and Restated
   Indemnification Agreement between Residential Capital, LLC and Thomas Melzer, dated Oct. 24, 2006
   [EXAM00296838], § 1(a).
 352 Indemnification Agreement between Residential Capital, Corporation and Thomas Melzer, dated June 21,

   2005 [MELZER.000886]; Amended and Restated Indemnification Agreement between Residential Capital,
   LLC and Thomas Jacob, dated Oct. 24, 2006 [EXAM00296828]; Amended and Restated Indemnification
   Agreement between Residential Capital, LLC and Thomas Melzer, dated Oct. 24, 2006 [EXAM00296838].
 353 Indemnification Agreement between Residential Capital, Corporation and Thomas Melzer, dated June 21,

   2005 [MELZER.000886]; Amended and Restated Indemnification Agreement between Residential Capital,
   LLC and Thomas Jacob, dated Oct. 24, 2006 [EXAM00296828]; Amended and Restated Indemnification
   Agreement between Residential Capital, LLC and Thomas Melzer, dated Oct. 24, 2006 [EXAM00296838].

                                                      IV-49
12-12020-mg          Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                               Pg 50 of 69




 Agreement,354 plus an exclusion for claims related to certain violations of section 16(b) of the
 Exchange Act, as amended.355 The Individual Indemnification Agreements set forth detailed
 provisions for partial indemnification, indemnification determinations, advance of payment of
 expenses, notification and defense of claims, and procedures for indemnification, insurance,
 and subrogation.356
                   (6) AFI Indemnification Provisions
       Pursuant to the 2011 AFI Amended Certificate, AFI agrees to indemnify and hold
 harmless ResCap’s directors and officers who are serving at the request of AFI against claims
 incurred if the directors or officer acted in good faith and in a manner reasonably believed to
 be in or not opposed to the best interests of AFI, “other than claims arising from: (1) bad faith
 acts; (2) claims for which the individual is liable to [AFI], unless an applicable court finds the
 individual is entitled to indemnity; and (3) derivative actions not approved by the [AFI
 Board].”357
       Specifically, the 2011 AFI Amended Certificate states:
                   [AFI] shall indemnify and hold harmless each person who was or
                   is made a party or is threatened to be made a party to or is
                   involved in or participates as a witness with respect to any action,
                   suit or proceeding, whether civil, criminal, administrative or
                   investigative (each a “Proceeding”), by reason of the fact that he
                   or she, or a person of whom he or she is the legal representative,
                   is or was a director or an officer, or is or was serving at the
                   request of [AFI] as a manager, director, officer, employee,
                   fiduciary or agent of another entity (collectively, the
                   “Indemnified Persons”) from and against any and all loss, cost,
                   damage, fine, expense (including reasonable fees and expenses of
                   attorneys and other advisors and any court costs incurred by any
                   Indemnified Person) or liability actually and reasonably incurred
 354 See Section VI.B.1.e(3).

 355 Amended and Restated Indemnification Agreement between Residential Capital, LLC and Thomas Jacob,

    dated Oct. 24, 2006 [EXAM00296828]; Amended and Restated Indemnification Agreement between
    Residential Capital, LLC and Thomas Melzer, dated Oct. 24, 2006 [EXAM00296838].
 356 Indemnification Agreement between Residential Capital, Corporation and Thomas Melzer, dated June 21,

    2005 [MELZER.000886]; Amended and Restated Indemnification Agreement between Residential Capital,
    LLC and Thomas Jacob, dated Oct. 24, 2006 [EXAM00296828]; Amended and Restated Indemnification
    Agreement between Residential Capital, LLC and Thomas Melzer, dated Oct. 24, 2006 [EXAM00296838].
 357 Ally Board Presentation Appendix, dated Sept. 23, 2011, at 24 [ALLY_0157478]. But see 2011 AFI Amended

    Certificate, at Art. VII, § F [GSResCap0000065785] (Ally Financial Inc., Current Report (Form 8-K) (Mar.
    25, 2011), Ex. 3.1) (“The Corporation shall not be required to indemnify a Person in connection with a
    Proceeding initiated by such Person against the Corporation or any of its subsidiaries if the Proceeding was
    not authorized by the Board of Directors. The ultimate determination of entitlement to indemnification of any
    Indemnified Person shall be made by the Board of Directors in such manner as the Board of Directors may
    determine.”).

                                                     IV-50
12-12020-mg        Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                               Pg 51 of 69




                  by the person in connection with the Proceeding, if the person
                  acted in good faith and in a manner the person reasonably
                  believed to be in or not opposed to the best interests of [AFI]
                  and except that no indemnification shall be made in respect of
                  any claim, issue, or matter as to which such person has been
                  adjudged to be liable to [AFI], unless, and only to the extent
                  that, the Court of Chancery of the State of Delaware or the court
                  in which such action or suit was brought shall determine upon
                  application that, despite the adjudication of liability but in view
                  of all the circumstances of the case, such person is fairly and
                  reasonably entitled to indemnity for such expenses which the
                  Court of Chancery or such other court shall deem proper. The
                  termination of any Proceeding by judgment, order, settlement,
                  conviction, or upon a plea of nolo contendere or its equivalent,
                  shall not, of itself, create a presumption that the person did not
                  act in good faith or in a manner such person reasonably believed
                  to be in or not opposed to the best interests of [AFI].358

      An e-mail from Bhama to Carpenter and Yastine regarding AFI’s indemnification of
 Independent Directors, previously discussed in Section IV.B.1.c(6), notes two issues with
 respect to the pending appointments of two additional Independent Directors: (1) increasing
 the number of director seats on the ResCap Board; and (2) who should appoint the directors.359
 Bhama notes that, as to the second issue, under the 2008 ResCap Amended LLC Agreement,
 the new Independent Directors can be appointed by either GMAC Mortgage Group, LLC, as
 ResCap’s immediate shareholder, or by the ResCap Board itself (subject to GMAC Mortgage
 Group, LLC’s right to unilaterally remove any director from the ResCap Board with or
 without cause).360 Bhama states that she recommends the latter approach for two reasons:

                  (1) It will further reinforce the separation and independence of
                  each individual from [AFI] as the ultimate shareholder since
                  each appointment will be an act of the ResCap board itself
                  without [AFI] involvement. This should mitigate perceptions of
                  [AFI] “taint.”


 358 2011 AFI Amended Certificate, at Art. VII, § D [GSResCap0000065785].

 359 E-mail from A. Bhama (Nov. 12, 2011) [ALLY_0207114].

 360 Examiner’s Counsel notes that Bhama’s advice about GMAC Mortgage Group LLC’s ability to appoint
   Independent Directors appears to be incorrect. See 2008 ResCap Amended LLC Agreement, § 14(e)
   [KL000000433] (“Notwithstanding anything to the contrary in this Agreement, the provisions of the
   Operating Agreement shall govern the qualifications, duties, powers, appointment, removal and other
   corporate governance matters of the Independent Directors.”); 2006 Amended Operating Agreement, § 2(f)(i)
   (“[AFI] shall vote for, and ResCap shall at all times have, at least two Independent Directors. In the event of a
   vacancy in the position of an Independent Director, whether as a result of resignation, removal, or otherwise,
   [AFI] shall, as promptly as practicable, elect a successor Independent Director.”).

                                                      IV-51
12-12020-mg        Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                              Pg 52 of 69




                 (2) It will help insulate [AFI] from liability for indemnifying
                 these individuals, if they are ever sued in connection with their
                 services as directors on the ResCap board. Under [AFI’s]
                 corporate charter, [AFI] essentially must indemnify, and
                 advance litigation defense expenses to, any person who serves
                 as an officer or director of another entity “at the request of
                 [AFI]”, if that person is (or is threatened to be) named in a
                 lawsuit related to their officer/director service. If the person
                 does not serve “at the request of AFI”, then these financial
                 obligations do not arise. This means that if the ResCap board
                 appoints these individuals as directors of ResCap, then they will
                 not be serving “at the request of [AFI]”, but rather at the request
                 of the ResCap board. Therefore, [AFI’s] indemnification and
                 expense advance obligation would not be triggered in future
                 lawsuit brought against these individuals. This may become
                 important in light of the various ResCap strategic alternatives
                 under consideration. (In this regard, [AFI] is facing this issue
                 today as to former ResCap directors who have been sued as part
                 of the PLS, etc. cases, though I am exploring our defenses along
                 the lines noted above.)361

      Note, however, that even if the ResCap Board appointed these individuals, as discussed
 in Section IV.B.2.a(1), it is more likely than not that a court would find that they were still
 serving “at the request of” AFI. The indemnification of ResCap directors by AFI is discussed
 further in Section IV.B.2.

             f. ResCap Director And Officer Insurance

      This Section summarizes certain aspects of the director and officer (“D&O”) insurance
 arrangements for ResCap directors and officers. These insurance arrangements are sponsored
 by AFI and cover both AFI and ResCap directors and officers. Such arrangements are
 multiple-layer “claims-made” policies. A full coverage analysis is beyond the scope of the
 Examiner’s Investigation, and would depend in large part upon facts particular to whatever
 claims, if any, are ultimately pursued against ResCap directors or officers. Accordingly, this
 summary and overview of the D&O insurance arrangements are included to illustrate a
 potential additional source to pay successful claims against directors, albeit subject to
 important caveats. Such arrangements likely also impact the ultimate financial exposure of
 AFI to such claims. This is because, to the extent indemnification is payable by AFI to the
 directors for such claims, the D&O insurance arrangements are potential sources of recovery
 for AFI, subject to the terms of those policies. Even for covered claims, AFI would be
 required to absorb one or more deductibles of $10 million each.


 361 E-mail from A. Bhama (Nov. 12, 2011) [ALLY_0207114]. Examiner’s Counsel notes that Bhama’s advice

   appears to be incorrect. See Section IV.B.2.a(1); VonFeldt v. Stifel Fin. Corp., 714 A.2d 79, 85 (Del. 1998).

                                                    IV-52
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section IV
                                               Pg 53 of 69




                  (1) ResCap Charter Documents Authorize ResCap To Purchase And Maintain
                      D&O Insurance, And Such Insurance Was Obtained Through AFI

      Each of the ResCap charter documents sets forth provisions which authorize ResCap to
 purchase and maintain at ResCap’s expense insurance to indemnify directors, officers, and
 employees, which seem to contemplate ResCap purchasing and maintaining D&O insurance for
 directors either itself or through its affiliates.362 It appears that, in fact, such insurance was
 obtained through AFI. All of the D&O insurance documents produced by ResCap and AFI to
 Examiner’s Counsel are in respect of coverage obtained through and shared with AFI. In this
 regard, a presentation to the ResCap Board dated April 19, 2012 states “D&O coverage is
 shared with [AFI],” and “ResCap does not have separate coverage.”363

                  (2) Types of D&O Insurance Coverage Obtained Beginning December 15,
                      2005

      The D&O insurance documents produced to Examiner’s Counsel relate to policy periods
 beginning December 15, 2005 and running through December 15, 2013. The terms of those
 policies vary somewhat from year to year but, as a general matter, the policies include four
 types of coverage:

        •   “Side A” coverage, which applies to losses for which directors and officers are not
            and cannot be indemnified by the company;

        •   “Side B” coverage, which reimburses the company for costs incurred in
            indemnifying a director or officer;

        •   “Side C” coverage, which pays for losses the company sustains from litigation
            involving securities violations; and
 362 Specifically, section 6.8 of the ResCap By-Laws permits the ResCap Board, to the fullest extent permitted by

   applicable law, to authorize officers to purchase and maintain at ResCap’s expense insurance to:
   (1) indemnify ResCap for any obligation it incurs as a result of the indemnification of directors, officers and
   employees under the indemnification provisions of the ResCap By-Laws; and (2) indemnify or insure
   directors, officers, and employees against liability in instances in which they may not otherwise be
   indemnified by ResCap under the indemnification provisions of the ResCap By-Laws. See ResCap By-Laws,
   § 6.8 [EXAM12325305]. Section 18(f) of the 2006 ResCap LLC Agreement provides that ResCap may
   purchase and maintain (itself or through its affiliates) insurance on behalf of any Covered Person (which, as
   noted in Section IV.B.1.e(3), includes any ResCap director) who has agreed to serve at the request of ResCap
   as a director, officer, or employee of ResCap against any liability asserted against, and incurred by, the
   Covered Person or on the Covered Person’s behalf, or arising out of the Covered Person’s status as a director,
   officer, or employee, whether or not ResCap would have the power to indemnify the Covered Person against
   such liability under the provisions of section 18 of the 2006 ResCap LLC Agreement. See 2006 ResCap LLC
   Agreement, § 18(f)(i) [KL000000474]. The 2008 ResCap Amended LLC Agreement contains an insurance
   provision that is substantively identical to the provisions set forth in the 2006 ResCap LLC Agreement.
   Compare 2006 ResCap LLC Agreement, § 18 [KL000000474], with 2008 ResCap Amended LLC Agreement,
   § 18 [KL000000433].
 363 Morrison
          & Foerster presentation to the Board of Residential Capital, LLC, dated Apr. 19, 2012, at 9
   [EXAM11131326].

                                                     IV-53
12-12020-mg       Doc 3698-11       Filed 05/13/13 Entered 05/13/13 17:08:13              Section IV
                                           Pg 54 of 69




      •   “Side D” coverage, which pays for losses arising out of breach of fiduciary duty
          obligations for establishing and administering AFI-sponsored employment benefit and
          retirement plans.
     “Side A” and “Side B” are the coverages relevant to whether the D&O insurance represents a
potential additional source by which successful claims against the directors and officers, if any, may
be paid. The policy periods, limits, and deductibles (except for “Side A” coverage, which is not
subject to a deductible) for the period from December 15, 2005 through December 15, 2013 are
summarized in the following table:




                                                IV-54
12-12020-mg         Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                   Section IV
                                              Pg 55 of 69




      In addition to the (generally) annual-period policies summarized in Exhibit IV.B.1.f(2),
 in 2009 AFI purchased a multi-year “run-off” Side-A-only policy, which provided a total of
 $105 million for limits on an excess basis,364 as discussed further in Section IV.B.1.f(2).

       As issued, the last policy would have expired December 15, 2012. However, coverage
 was extended by endorsement (rather than by renewal of the policy).365 It therefore appears
 that, to date, the D&O insurance has been extended for just one year. In that regard, in an
 April 10, 2013 e-mail, AFI’s counsel has advised Examiner’s Counsel that, based on their
 inquiries, AFI has not purchased a six-year run-off policy covering the ResCap directors. This
 is of interest in light of a letter dated May 4, 2012 from Mack to Franklin Hobbs, AFI Board
 Chairman, and Carpenter, in which Mack expressed concern on behalf of all directors and
 officers of ResCap regarding the insurance coverage available under AFI’s current blended
 D&O and fiduciary insurance programs:

                  We are concerned because claims may arise later against
                  ResCap’s directors and officers that relate to activities prior to
                  the closing of a significant transaction and it is (at least
                  theoretically) possible that after the closing of the transaction,
                  but before the claims arise, the Current Program could be
                  amended to exclude coverage for such claims. If that happened,
                  ResCap’s directors and officers could be exposed to ResCap-
                  related liability.366

      Mack suggests that the best way to address this concern and protect ResCap’s directors
 and officers is to put the current program, which insures both AFI and ResCap, into run-off for
 a period of six years following a significant transaction involving ResCap. The run-off period
 would be prepaid. Similarly, the AFI Settlement and Plan Sponsor Agreement between the
 Debtors and AFI had, as executed, obligated AFI to use commercially reasonable efforts to
 continue to renew its current D&O insurance program for a run-off period of six years, on
 substantially the same terms and conditions as under existing D&O insurance programs.367
 The AFI Settlement and Plan Sponsor Agreement was subject to Bankruptcy Court approval,
 and has since expired.

                  (3) The D&O Coverage Is On A “Claims-Made Basis,” Which Determines
                      Which Policies Are Potentially Applicable

     As is typical for D&O insurance, each of the annual-period polices set forth in
 Exhibit IV.B.1.f.(2) provide coverage on a “claims-made basis.” This, together with
 364 See GMAC’s 2009–2010 Blended Liability Insurance Coverages, dated Apr. 8, 2010 [EXAM20109362].

 365 See Policy Term Extension Endorsement to Dec. 15, 2013, Allied World Side ‘A’ Directors & Officers Excess

   and Lead Difference-in-Conditions (“DIC”) Insurance Policy number C012138/004 for Dec. 15, 2011 to Dec.
   15, 2012, at ALLY_PEO_0093982 [ALLY_PEO_0093898].
 366 Letter from J. Mack to F. Hobbs and M. Carpenter (May 4, 2012) [EXAM00092188].

 367 See Settlement and Plan Sponsor Agreement, § 2.2(b).



                                                     IV-55
12-12020-mg          Doc 3698-11        Filed 05/13/13 Entered 05/13/13 17:08:13                 Section IV
                                               Pg 56 of 69




 provisions linking claims that arise from the same or interrelated wrongful acts and requiring
 relatively prompt notice, will typically substantially narrow the number of potentially-
 applicable policies, as follows.
           •   Claim “First Made” Requirement. Such policies limit coverage only to loss on
               account of any “Claim” (as defined) “first made” against an insured during the
               policy period. As stated in the policy incepting December 15, 2011, in respect of
               “Side A” and “Side B” coverage, the insurers’ obligation to pay otherwise-covered
               loss only applies where the loss is “on account of any Claim first made against such
               Insured Person, individually or otherwise, during the Policy Period . . . . ”368
           •   Same and Interrelated Wrongful Acts. Such policies also link claims that arise from
               the same wrongful act, or interrelated wrongful acts, thereby limiting coverage of
               such linked claims to the first policy period in which any of them was first made. As
               stated in the policy incepting December 15, 2011: “All Loss arising out of the same
               Wrongful Act and all Interrelated Wrongful Acts of any Insured Persons shall be
               deemed one Loss, and such Loss shall be deemed to have originated in the earliest
               Policy Period in which a Claim is first made against any Insured Person alleging any
               such Wrongful Act or Interrelated Wrongful Acts.”369
           •   Notice to the Insurer. In addition to requiring that the claim have been “first made”
               against an insured within the policy period, such policies also require relatively
               prompt notice to the insurer, including a requirement that such notice be given
               within a specified period after the end of the policy period. As stated in the policy
               incepting December 15, 2011: “The Insured shall, as a condition precedent to
               exercising any right of coverage under this Policy, give to the [insurer] written
               notice of any Claim as soon as practicable, but in no event later than . . . sixty
               (60) days after the effective date of expiration or termination” of the policy.370
       As a result of these provisions in the D&O insurance policies, an analysis of any potential
 claim against a director to determine whether D&O insurance is potentially available must
 begin with an analysis of whether that claim: (1) has already been made against an insured
 under the D&O insurance policies; or (2) will be deemed to have already been made because it
 is linked to an earlier claim that arises from the same “Wrongful Act” or “Interrelated
 Wrongful Acts.” In either case, coverage would typically be limited to the earliest policy
 period in which such claim or linked claim was first made. However, for most of the annual-
 period policies described in Exhibit IV.B.1.f(2) the period in which timely notice could be
 given to the insurer has already passed, such that the carrier would likely deny coverage unless
 notice has already been given.371
 368 DFI
      Primary Professional Liability Policy number 8207-6455 for Dec. 15, 2011 to Dec. 15, 2012, at
   RCES00000138 [RCES00000130] (defined terms bolded in original).
 369 Id. at RCES00000140 (defined terms bolded in original).

 370 Id. at RCES00000138, RCES00000167 (defined terms bolded in original).

 371 A presentation to the ResCap Board dated April 19, 2012 states that “there are no claims against the D&O

   coverage.” Morrison & Foerster Residential Capital, LLC Board Presentation, dated Apr. 19, 2012, at 9
   [EXAM11131326].

                                                     IV-56
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section IV
                                               Pg 57 of 69




     For claims that have not yet been “first made,” two avenues remain to potential D&O
 coverage.

      First, although the original policy period for the last policy as described in
 Exhibit IV.B.1.f(2) was to have expired December 15, 2012, that policy period was later
 extended by endorsement to December 15, 2013.372 As a result, a “Policy Period” remains in
 effect, during which the requirement of a “Claim first made” can be satisfied.

       Second, as noted in Section IV.B.1.f(2), in 2009 AFI purchased a multi-year “run-off”
 Side-A-only policy.373 Because this policy was effective May 22, 2009, and had a six-year
 term (i.e., through May 21, 2015), it is also potentially available for not-yet-made claims. To
 the extent other coverage is available, the “run-off” policy applies only excess of that other
 coverage. A more important limitation on the potential applicability of the “run-off” policy is
 that it only applies to loss arising from “wrongful acts” that took place during the period from
 November 30, 2006 through May 22, 2009.374 In contrast, at least some portion of the limits
 for the other annual period policies described in Exhibit IV.B.1.f(2) including the last policy,
 are not subject to any similar restriction. Since that policy ran through at least December 15,
 2012—after the Petition Date—there is at least some potential coverage for “Wrongful Acts”
 taking place during the entire time period being investigated by the Examiner, subject to
 satisfaction of the “first made,” notice, and other requirements of the policy.

                  (4) Other Circumstances That Will Impact The Existence, And Amount, Of
                      Coverage Available

      Once a policy is identified as being potentially applicable to a particular claim, a full
 analysis of the specific facts of that particular claim, in relation to the specific wording of the
 particular policy, would be required to determine the existence and amount of coverage
 potentially available. Certain key, but certainly non-exclusive, considerations are identified
 below. Because the annual policy beginning December 15, 2011 (as extended) is the policy
 most likely to be relevant to any not-yet-made claims (the “run-off” policy would apply only
 excess of that policy), those considerations are analyzed below in terms of the language of that
 policy.375


 372 See Policy Term Extension Endorsement to Dec. 15, 2013, Allied World Side ‘A’ Directors & Officers Excess

    and Lead Difference-in-Conditions (“DIC”) Insurance Policy number C012138/004 for Dec. 15, 2011 to Dec.
    15, 2012, at ALLY_PEO_0093982 [ALLY_PEO_0093898].
 373 See GMAC’s 2009–2010 Blended Liability Insurance Coverages, dated Apr. 8, 2010 [EXAM20109362].

 374 See Id.

 375 Specifically, the discussion is based on the terms of the policy issued by Federal Insurance. DFI Primary

    Professional Liability Policy number 8207-6455 for Dec. 15, 2011 to Dec. 15, 2012 [RCES00000130]. The
    coverage described in Exhibit IV.B.1.f.(2) for each policy period actually consists of several layers of
    coverage, each provided by various insurers and thus subject to certain variations that would need to be taken
    into account in a full insurance coverage analysis. For purposes of this discussion, the wording of just one
    policy, the policy issued by Federal Insurance, is highlighted.

                                                      IV-57
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13      Section IV
                                               Pg 58 of 69




                       (a) Definition Of “Wrongful Act”
      As an initial matter, the scope of coverage under the D&O insurance policies is
 determined by the definition of “Wrongful Act.” The December 15, 2011 policy defines
 “Wrongful Act” to mean:
                  [A]ny error, misstatement, misleading statement, act, omission,
                  neglect, or breach of duty committed, attempted, or otherwise
                  allegedly committed or attempted, by an Insured Person,
                  individually or otherwise, in his Insured Capacity, or any matter
                  claimed against him solely by reason of his serving in such
                  Insured Capacity. 376
      In addition to determining whether coverage is available under the policy, where this
 definition is broader than the director’s rights to indemnification from either ResCap or AFI,
 such a difference in scope creates the possibility of a payment being made under “Side A,”
 rather than “Side B.”
                       (b) “Side A” Versus “Side B”
     “Side A” coverage applies to “Loss for which the Insured Person is not indemnified by
 the Organization . . . .”377 In contrast, “Side B” coverage applies to “Loss for which the
 Organization grants indemnification to each Insured Person . . . .”378
       Here, the definition of “Organization” (“the Parent Organization and/or any
 Subsidiary”)379 would encompass both AFI and ResCap, thus making indemnification by
 either of them relevant as an initial matter. However, in light of ResCap’s bankruptcy, the
 focus would be on whether the claim is indemnifiable by AFI, and not on whether ResCap
 fails to indemnify owing to its bankruptcy:
                  If the Organization:
                  (a) fails or refuses, other than for reason of Financial
                      Impairment, to indemnify the Insured Person for Loss; and
                  (b) is permitted or required to indemnify the Insured Person for
                      such Loss pursuant to the fullest extent permitted by law;
                  then, notwithstanding any other conditions, provisions or terms
                  of this Policy to the contrary, any payment by the [insurer] of
                  such Loss shall be subject to [Side-B coverage] . . . .380
 376 Id. at RCES00000147 (defined terms bolded in original).

 377 Id. at RCES00000138 (defined terms bolded in original).

 378 Id. at RCES00000138 (defined terms bolded in original).

 379 Id. at RCES00000147 (defined terms bolded in original).

 380 Id. at RCES00000141 (defined terms bolded in original).



                                                     IV-58
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13        Section IV
                                               Pg 59 of 69




       Thus, to the extent that the claim is indemnifiable by AFI, the insurer would assert that it
 is a “Side B” claim, under which the proceeds could not be directly accessed by directors, but
 are instead payable only by way of the insurer indemnifying AFI, after AFI has absorbed the
 “Side B” deductible, which is $10 million in this case. That deductible applies separately to
 each “Loss” (as defined), so AFI could potentially be required to absorb multiple deductibles.

      In contrast, to the extent the claim is otherwise covered under the policy, but is a claim
 for which AFI is neither permitted nor required to indemnify the director, then “Side A”
 would apply. Under “Side A” coverage, the insurer’s payment obligation is directly to the
 director and there is no deductible.

                       (c) “Insured Versus Insured” And Other Exclusions

      D&O insurance policies typically include a so-called “insured vs. insured” exclusion, for
 claims brought against, or with the involvement of, another insured. Under the policy
 beginning December 15, 2011, this excludes coverage “for Loss on account of any Claim
 made against any Insured Person . . . brought by an Organization against (i) any other
 Organization; or (ii) an Insured Person of such Organization. . . .”381 This exclusion is subject
 to certain exceptions, including one of particular relevance to this proceeding, stating that the
 exclusion does not apply to “any Claim brought . . . (B) in the event of Financial Impairment
 of the Organization.”382 In any event, any claim brought on behalf of ResCap, or by AFI or
 another D&O insured, would require further analysis.

      There are also a number of other exclusions that vary from policy to policy, that would
 require analysis in light of the particular claim. For example, the policies will generally
 include exclusions relating to the conduct of the insured. For example, the December 15, 2011
 policy contains “Side A” exclusions for claims against an Insured Person that are:

                  (a) [B]ased upon, arising from, or in consequence of any
                      deliberately fraudulent act or omission or any willful
                      violation of any statute or regulation by such Insured Person,
                      if a final, non-appealable adjudication in any underlying
                      proceeding or action establishes such a deliberately
                      fraudulent act or omission or willful violation; or

                  (b) [B]ased upon, arising from, or in consequence of such
                      Insured Person having gained any personal profit,
                      remuneration or other advantage to which such Insured
                      Person was not legally entitled, if a final, non-appealable
                      adjudication in any underlying proceeding or action
                      establishes the gaining of such a personal profit,
                      remuneration or advantage.383
 381 Id. at RCES00000139, RCES00000201 (defined terms bolded in original).

 382 Id. at RCES00000201 (defined terms bolded in original).

 383 Id. at RCES00000194 (defined terms bolded in original).



                                                     IV-59
12-12020-mg          Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section IV
                                                  Pg 60 of 69




                        (d) Erosion Of Limits

      The D&O insurance available to any particular claim will be subject to insurer liability
 limitations that apply on a per-“Loss” basis, as well as to overall aggregate limits. As a result,
 other claims have the potential to exhaust or erode the available aggregate limits, or (if the
 claims are part of the same “Loss”) the available per-“Loss” limits, thereby leaving the claim
 with no or reduced limits available. In addition, as set forth in Exhibit IV.B.1.f(2), certain of
 the “Side A” and “Side B” limits are shared with other coverages under the policies, which
 increase the potential for exhaustion or erosion of limits.384 On the other hand, some of the
 limits are subject to provisions that provide for certain priorities in payments designed to
 protect the availability of coverage for the directors. These provisions changed over time,
 including in respect of the relative priority of AFI directors and ResCap directors.385

     2. Legal Analysis Regarding AFI’s Indemnification Of ResCap Directors

       Examiner’s Counsel has been asked to review the circumstances in which directors on the
 ResCap Board could be indemnified by AFI for claims related to their service on the ResCap
 Board. Delaware corporate law permits a parent company like AFI to indemnify directors of its
 subsidiaries, such as ResCap, in certain circumstances. AFI elected to do so via the 2011 AFI
 Amended Certificate, the 2009 AFI Certificate and the 2009 AFI Amended Certificate, as well as
 when AFI was a limited liability company via the 2006 AFI Amended LLC Operating Agreement
 (collectively, the “Indemnification Provisions”).386

     Examiner’s Counsel notes that AFI, in the 2006 AFI LLC Agreement, did not provide
 indemnification rights to ResCap directors unless such directors were also members of


 384 The increased risk of erosion of limits because various coverages share limits was previously identified as a

    concern. In May 2008, Chapman, as a prospective independent director, provided copies of certain of the
    D&O policies to his counsel, Thorn Rosenthal. After reviewing those policies, Rosenthal identified several
    provisions and ambiguities in the policies that could result in the erosion of limits as a result of other claims
    and other coverages. See E-mail from T. Rosenthal (May 5, 2008) [CCM00557210]. Other concerns identified
    by Rosenthal included that the policies might not cover defense costs before a claim had formally been
    asserted; that injunctive relief might not be covered; and that the notice provisions included significant
    particularity requirements, and were subject to strict deadlines. Id.
 385 Minutes   of a Regular Meeting of the Board, GMAC LLC, Mar. 10, 2009, at ALLY_0114747
    [ALLY_0114717]. The Independent Directors requested, at a meeting of the AFI Board on March 10, 2009,
    that they be ranked the same as the AFI independent directors in the order of payment provisions; following
    such discussion, the AFI Board approved a change in the order of payments endorsement in the AFI D&O
    policy to rank the Independent Directors pari passu with the independent directors of AFI. See also Minutes of
    a Special Meeting of the Board, GMAC LLC, Jan. 30, 2009, at ALLY_0114729 [ALLY_0114717].
 386 See 2011 AFI Amended Certificate, at Art. VIII, § D [GSResCap0000065785] (“To the fullest extent
    permitted by the DGCL or applicable Law . . . the Corporation will indemnify and hold harmless each person
    by reason of the fact that he or she . . . is or was a director or an officer, or is or was serving at the request of
    the Corporation as a manager, director . . . or agent of another entity . . . .”); see also 2009 AFI Amended
    Certificate, at Art. VIII, § D [GSResCap0000064387]; 2009 AFI Certificate, at Art. VIII, § D
    [KL000000204]; 2006 AFI Amended LLC Operating Agreement, at Art. XI, § 11.1 [CERB001063].

                                                         IV-60
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                               Pg 61 of 69




 the AFI Board or officers of AFI.387 However, the Indemnification Provisions conferred upon
 ResCap directors certain broadly-drafted indemnification rights, which rights apply to a
 director who “is or was serving at the request of [AFI].”388 Such rights are not limited to
 claims made during any particular time period, nor are they limited to directors serving at the
 time that the Indemnification Provisions were adopted.389 The Indemnification Provisions
 should be treated as an enforceable contract between AFI and the covered directors.390
 Examiner’s Counsel was unable to locate any information as to what the intention was at the
 time of adopting the Indemnification Provisions. Thus, while a close question, based on a
 plain language reading of the Indemnification Provisions, the Examiner concludes it is more
 likely than not that a court would determine that even ResCap directors who served on the
 ResCap Board only prior to November 30, 2006 and who were not also members of the AFI
 Board or officers of AFI would have rights under the Indemnification Provisions, including
 rights with respect to claims arising from acts that occurred prior to November 30, 2006.

     In addition, AFI, ResCap, and/or the directors of the ResCap Board may be entitled to
 indemnification under AFI’s director and officer insurance policies.391

              a. Right To Indemnification And DGCL Sections 145(a) And (b)

       Delaware General Corporation Law sections 145(a) and (b) (“DGCL sections 145(a) and
 (b)”) are enabling provisions that give Delaware corporations the statutory authority to
 indemnify directors that serve “at the request of the corporation,” provided that the director
 “acted in good faith and in a manner the [director] reasonably believed to be in or not opposed
 to the best interests of the corporation . . . .”392 The Indemnification Provisions apply “to the
 fullest extent permitted by the DGCL or applicable Law” and contain the same requirements
 that the director have acted “at the request of” AFI (and/or a predecessor entity, if applicable)
 (AFI and/or any applicable predecessor entity are referred to herein as a “Parent Entity”), “in
 good faith,” and “in a manner reasonably believed to be in or not opposed to the best interests
 387 See2006 AFI LLC Agreement, at Art. VI, § 6.1 [GSResCap0000078836]. Note, however, that the
    Independent Directors may be entitled to mandatory indemnification by ResCap. See Section IV.B.1.e.
 388 2011 AFI Amended Certificate, at Art. VIII, § D [GSResCap0000065785]; 2009 AFI Amended Certificate, at

    Art. VIII, § D [GSResCap0000064387]; 2009 AFI Certificate, at Art. VIII, § D [KL000000204]; 2006 AFI
    Amended LLC Operating Agreement, at Art. XI, § 11.1 [CERB001063].
 389 See 2011 AFI Amended Certificate, at Art. VIII, § D [GSResCap0000065785]; 2009 AFI Amended
    Certificate, at Art. VIII, § D [GSResCap0000064387]; 2009 AFI Certificate, at Art. VIII, § D
    [KL000000204]; 2006 AFI Amended LLC Operating Agreement, at Art. XI, § 11.1 [CERB001063].
 390 See Beneficial Indus. Loan Corp. v. Cohen, 170 F.2d 44, 50 (3d Cir. 1948) (applying Delaware law)
    (“Generally, corporate documents such as bylaws have the force of a contract between the corporation and the
    directors.”); Bishop, Law of Corporate Officers and Directors, Ch. 7.05 (1991); 8 WILLIAM MEADE ET AL.
    FLETCHER CYCLOPEDIA OF THE LAW OF PRIVATE CORPORATIONS § 4177 (West 2012).
 391 SeeSection IV.B.1.f. While the Investigation has revealed that Jacob and Melzer had indemnification
    agreements with ResCap, the Investigation has uncovered no evidence of any Independent Directors having
    such agreements with AFI.
 392 DEL. CODE ANN. tit. 8, § 145(a)–(b).



                                                     IV-61
12-12020-mg          Doc 3698-11           Filed 05/13/13 Entered 05/13/13 17:08:13                            Section IV
                                                  Pg 62 of 69




 of the Corporation.”393 Thus, to determine whether an Independent Director may be
 indemnified under DGCL sections 145(a) or (b) and the Indemnification Provisions, it is
 necessary to determine whether the director acted “at the request” of a Parent Entity, whether
 the director acted in “good faith” in the performance of his duties, and whether the director
 acted in a manner “reasonably believed to be in or not opposed to the best interests of the
 corporation.”394

       It should be noted that where the operative indemnification provisions specify that an
 entity “shall indemnify” an individual, as is the case here, at least one Delaware court has
 stated that the burden shifts to the entity to demonstrate that the individual is not entitled to
 indemnification (as opposed to the burden being on the individual to demonstrate that he is
 entitled to indemnification).395

                   (1) Serving “At The Request Of” The Corporation

      DGCL sections 145(a) and (b) provide that a corporation has the power to indemnify any
 person who “is or was serving at the request of the corporation as a director, officer, employee
 or agent of another corporation, partnership, joint venture, trust or other enterprise . . . .”396
 The Indemnification Provisions contain similar language. To determine whether a director
 may be indemnified under DGCL sections 145(a) or (b), and therefore under the
 Indemnification Provisions, it must be determined whether he was serving “at the request of”
 the corporation from which the indemnity is sought.




 393 2011 AFI Amended Certificate, at Art. VIII, § D [GSResCap0000065785]; 2009 AFI Amended Certificate, at

   Art. VIII, § D [GSResCap0000064387]; 2009 AFI Certificate, at Art. VIII, § D [KL000000204]; 2006 AFI
   Amended LLC Operating Agreement, at Art. XI, § 11.1 [CERB001063] (stating “the best interests of the
   Company”) (emphasis added).
 394 It should be noted that the 2011 AFI Amended Certificate, the 2009 AFI Amended Certificate, and the 2009 AFI

   Certificate provide that reasonable expenses incurred by a Independent Director in connection with a covered
   proceeding are to be advanced or reimbursed to the director prior to a final determination of whether the director is
   entitled to be indemnified, provided that the director agrees to repay those amounts to the Parent Entity if it is finally
   judicially determined by a court of competent jurisdiction that the director is not entitled to indemnification. See
   2011 AFI Amended Certificate, at Art. VIII, § E [GSResCap0000065785]; 2009 AFI Amended Certificate, at Art.
   VIII, § E [GSResCap0000064387]; 2009 AFI Certificate, at Art. VIII, § E [KL000000204] (collectively, the
   “Reasonable Expense Indemnification Provisions”).
 395 VonFeldt v. Stifel Fin. Corp., No. 15688, 1999 Del. Ch. LEXIS 131, at 10 (Del. Ch. June 11, 1999) (“By using

   the phrase ‘shall indemnify,’ the bylaw not only mandates indemnification; it also effectively places the
   burden on [the parent entity] to demonstrate that the indemnification mandated is not required.”).
 396 DEL. CODE ANN. tit. 8, § 145(a)–(b).



                                                          IV-62
12-12020-mg            Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13              Section IV
                                                   Pg 63 of 69




      In the context of a parent corporation that owns 100% of the stock of a subsidiary—as in
 the case of AFI and ResCap—the Supreme Court of Delaware has noted that the parent
 corporation owning the 100% interest in the subsidiary is the only entity with the right to vote
 in board elections and thus is solely responsible for electing all of the subsidiary’s directors.397
 On those facts, the Delaware Supreme Court held as follows:

                      [W]here a 100% stockholder elects a director to the board of a
                      subsidiary, that director thereafter serves the subsidiary “at the
                      request of” the stockholder, within the meaning of 8 Del. C. §
                      145(a). By virtue of the fact that [the parent company] elected [the
                      director] to the board of its wholly-owned subsidiary, [the
                      director] is deemed to be serving the subsidiary at the request of
                      the parent. He therefore has standing to invoke the protections
                      offered by Section 145 and [the parent company’s]
                      Indemnification bylaw.398

      The Delaware Supreme Court has held that, in these circumstances, a director is not
 required to prove any additional facts, such as pointing to a specific “request” made by the
 parent corporation, to demonstrate that he served “at the request of” the parent corporation.399

       One Delaware court has applied the reasoning of this holding even where there was no
 formal election or vote for the director serving on the subsidiary’s board.400 In Zaman v.
 Amedeo Holdings, two individuals served as directors of the New York Palace Hotel. The
 New York Palace Hotel had a complex multi-layered chain of ownership, at the top of which
 was a trust of which one individual was the sole beneficiary.401 The directors of the New York
 Palace Hotel were not elected, but rather were appointed directly by this sole beneficiary.
 Because it appeared that corporate formalities had been ignored, the court found that the
 directors of the New York Palace Hotel “were serving at the requests of the subsidiaries above
 them in the chain of ownership flowing down from [the sole beneficial owner],”402 and held
 that the directors were entitled to seek indemnification from the defendant parent company for
 any claims for breaches of their duties as directors of the New York Palace Hotel.403

      To the extent that it can be shown that an Independent Director was elected to the
 ResCap Board by a Parent Entity, such director should be deemed to be serving “at the request
 of” the Parent Entity as a matter of law, without having to prove any additional facts.
 397 See VonFeldt v. Stifel Fin. Corp., 714 A.2d 79 (Del. 1998).

 398 Id. at 85; see also Cochran v. Stifel Fin. Corp., No. 17350, 2000 Del. Ch. LEXIS 58, 55 (Del. Ch. Mar. 8,

    2000).
 399 See, e.g., VonFeldt, 714 A.2d at 85.

 400 See Zaman v. Amedeo Holdings, Inc., No. 3115–VCS, 2008 Del. Ch. LEXIS 60 (Del. Ch. May 23, 2008).

 401 Id. at *11–12.

 402 Id. at *60–61.

 403 Id. at *63.



                                                       IV-63
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section IV
                                                Pg 64 of 69




 Similarly, to the extent that it can be shown that an Independent Director was appointed to the
 ResCap Board by a Parent Entity, it is likely that the director would also be deemed to be
 serving “at the request of” the Parent Entity as a matter of law. Note that, pursuant to the 2005
 Operating Agreement and 2006 Amended Operating Agreement, only AFI could vote for and
 fill vacancies with respect to the Independent Directors.404

      To the extent that it cannot be established that an Independent Director was elected or
 appointed to the ResCap Board by a Parent Entity, it is not clear what factors a court would
 consider to determine whether the director was serving “at the request of” the Parent Entity, as
 Examiner’s Counsel has not found case law addressing that circumstance. However, some
 factors that a court may consider in making this determination include evidence that the Parent
 Entity controlled and/or dominated ResCap, such as by setting ResCap’s corporate policy,
 controlling ResCap’s operations, selecting ResCap’s key personnel, determining compensation
 for ResCap’s key personnel, considering and approving employment and termination fee
 contracts with ResCap’s key personnel, and/or terminating ResCap’s key personnel.405 Other
 relevant factors may include to what extent the Parent Entity recruited and/or compensated the
 director.406 Based on the fact that the 2005 Operating Agreement and the 2006 Amended
 Operating Agreement provide that only AFI could vote for and fill vacancies with respect to
 the Independent Directors, in addition to the level of control AFI exerted over ResCap (and,
 with respect to certain Independent Directors, the involvement of AFI in their recruitment), the
 Examiner concludes that it is likely that a court would find that the Independent Directors
 served “at the request of” AFI.



 404 See 2006 Amended Operating Agreement, § 2(f)(i); [ALLY_0041818] (“[AFI] shall vote for, and ResCap

    shall at all times have, at least two Independent Directors. In the event of a vacancy in the position of an
    Independent Director, whether as a result of resignation, removal, or otherwise, [AFI] shall, as promptly as
    practicable, elect a successor Independent Director.”); 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795]
    (same). Examiner’s Counsel notes that Bhama’s advice about GMAC Mortgage LLC’s ability to appoint
    Independent Directors appears to be incorrect. See 2008 ResCap Amended LLC Agreement, § 14(e)
    [KL000000433] (“Notwithstanding anything to the contrary in this Agreement, the provisions of the
    Operating Agreement shall govern the qualifications, duties, powers, appointment, removal and other
    corporate governance matters of the Independent Directors.”).
 405 See VonFeldt v. Stifel Fin. Corp., 714 A.2d 79, 81, 83 (Del. 1998).

 406 It should be noted that there is an e-mail from AFI’s General Counsel to Jacob and Melzer confirming, on

    behalf of AFI, that Jacob and Melzer served on the ResCap Board as independent directors “at the request of”
    AFI, so it is unlikely that anything further would be required to demonstrate that these two independent
    directors were serving “at the request of” AFI. See E-mail from W. Solomon to T. Melzer and [T. Jacob]
    (April 14, 2008) [MELZER.004778]; Section IV.B.1.c(1). Also, an e-mail from ResCap’s General Counsel
    indicates that in his estimation, all ResCap directors serve at the discretion of AFI. E-mail from D. Marple
    (Jan. 9, 2007) [EXAM10165583] (“As with all directors, [Independent Directors] simply serve at the
    discretion of ResCap’s shareholder.”). Moreover, AFI’s appointment of certain Independent Directors is
    reflected in the letters sent “on behalf of [AFI]” confirming each director’s appointment and thanking him or
    her”[o]n behalf of [AFI] . . . for serving as an Independent Director of ResCap.” See, e.g., Letter from R. Hull
    to E. Smith (May 15, 2008) at EXAM10146755 [EXAM10146754]; Letter from C. Quenneville to K. Hirler-
    Garvey (Jun. 12, 2008) [CCM00388535].

                                                       IV-64
12-12020-mg         Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section IV
                                                Pg 65 of 69




                  (2) Acting “In Good Faith”
     To be indemnified under DGCL sections 145(a) and (b) and under the Indemnification
Provisions, a director must have acted “in good faith.” As one Delaware court has stated, “as a
matter of public policy it simply would not make sense for a corporation to have the power to
indemnify agents who do not act in its best interests.”407 In fact, if a Delaware corporation adopts
a provision (e.g., in its charter or bylaws) that “expands the permissive nature of
indemnification to mandatory indemnification, the good faith requirement survives.”408 The law
in Delaware is that “Delaware corporations lack the power to indemnify a party who did not act
in good faith or in the best interests of the corporation.”409 Accordingly, a director who
breaches a fiduciary duty can only be entitled to indemnification if such breach of a fiduciary
duty was in “good faith.”410
     Under Delaware law, a director is subject to the fiduciary duties of (1) due care and
(2) loyalty.411 To determine whether a fiduciary has breached a duty in “good faith,” the
Delaware Supreme Court has articulated a “spectrum” of the shades of “good faith” and “bad
faith” acts by fiduciaries.412 At one end of the spectrum are acts involving “fiduciary conduct
motivated by an actual intent to do harm,” which are acts in bad faith.413 In the middle of the
spectrum are acts such as the “intentional dereliction of duty or a conscious disregard of one’s
responsibilities,” which the Delaware Supreme Court has found to be a “non-Indemnifiable
violation of the fiduciary duty to act in good faith.”414 At the farthest end of the spectrum are
fiduciary acts taken “solely by reason of gross negligence and without any malevolent intent,”
which are indemnifiable because “grossly negligent conduct, without more, does not and cannot
constitute a breach of the fiduciary duty to act in good faith.”415 Conduct at this farthest end of
the spectrum has important consequences because “director conduct amounting only to a
violation of the duty of care, but otherwise taken in good faith, is . . . indemnifiable under 8
Del. C. § 145.”416 Thus, circumstances may arise in which a director can be found to have
breached the duty of care, but still may be indemnified under DGCL sections 145(a) and (b).
407 VonFeldt v. Stifel Fin. Corp., 1999 Del. Ch. LEXIS 131, at *5–6 (Del. Ch. June 11, 1999).

408 Id.

409 Id. at *8.

410 Note   that when indemnification is claimed under state law for amounts paid in connection with federal
    securities law violations, federal law generally preempts state law and disallows claims for indemnification
    because such claims run counter to the policies underlying the federal securities acts by reducing their deterrent
    effect. See, e.g., Eichenholtz v. Brennan, 52 F.3d 478, 484 (3d Cir. 1995). However, there is some precedent for
    state law indemnification when there has been no judicial finding of federal securities law violations by the
    potential indemnitee, and indemnification is available for amounts paid in settlement and for defense of such
    claims. See, e.g., CFTC v. Richards, No. 96 C 334, 1996 U.S. Dist. LEXIS 5359 (N.D. Ill. Apr. 19, 1996);
    Raychem Corp. v. Fed. Ins. Co., 853 F. Supp. 1170, 1177 (N.D. Cal. 1994).
411 See Section VII.E.1.

412 See Ryan v. Lyondell Chem. Co., C.A. No. 3176–VCN, 2008 Del. Ch. LEXIS 125, at *22–23 (Del. Ch. Aug. 29,

    2008).
413 See Brehm v. Eisner (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 64 (Del. 2006).

414 See Ryan, 2008 Del. Ch. LEXIS 125, at *23.

415 See In re Walt Disney Co. Derivative Litig., 906 A.2d at 64–65.

416 See Ryan, 2008 Del. Ch. LEXIS 125, at *22–23 (emphasis in original).



                                                       IV-65
12-12020-mg          Doc 3698-11          Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                                 Pg 66 of 69




       While a fiduciary may violate the duty of care and still act in good faith, “the requirement
 to act in good faith is a subsidiary element, i.e., a condition, of the fundamental duty of
 loyalty.”417 A director “cannot act loyally towards the corporation unless she acts in the good
 faith belief that her actions are in the corporation’s best interest.”418 Because “good faith” is a
 “subsidiary element” of the duty of loyalty, a director who has breached the duty of loyalty has
 not done so in good faith, and thus cannot be indemnified under DGCL sections 145(a) and (b).

      Simply put, under Delaware law, a director “can be indemnified for liability (and litigation
 expenses) incurred by reason of a violation of the duty of care, but not for a violation of the duty
 to act in good faith.”419 If an Independent Director is found to have breached his or her duty of
 loyalty, then that finding should preclude the director from being indemnified under the
 Indemnification Provisions. If, however, an Independent Director is found to have breached only
 his duty of care, then such breach could be found to have been in “good faith” and is potentially
 indemnifiable under the Indemnification Provisions.420

                   (3) “Best Interests Of The Corporation”

      To be indemnified under DGCL sections 145(a) and (b), a director must have acted “in a
 manner the person reasonably believed to be in or not opposed to the best interests of the
 corporation.”421 The Indemnification Provisions require that the ResCap director have acted
 “in a manner the person reasonably believed to be in or not opposed to the best interests of”
 the Parent Entity (i.e., AFI).422 This language in the Indemnification Provisions generally
 tracks the language of DGCL sections 145(a) and (b), except that it specifically defines the
 term “corporation” as referring to the Parent Entity (i.e., AFI). A Delaware court would likely
 agree with the interpretation that the term “corporation” within the clause “best interests of the
 corporation” in DGCL sections 145(a) and (b) refers to the parent corporation from which the
 indemnification is sought.423
 417 See Stone v. Ritter, 911 A.2d 362, 270 (Del. 2006) (citations omitted).

 418 Id. (citing Guttman v. Huang, 823 A.2d 492 (Del. Ch. 2003)).

 419 In re Walt Disney Co. Derivative Litig., 906 A.2d at 64-66.

 420 Note that, in the 2012 case of Hermelin v. K-V Pharm. Co., the Court of Chancery noted that “no Delaware

    case has squarely addressed what evidence is relevant to an inquiry into whether an indemnitee acted in good
    faith for the purposes of permissive indemnification under DGCL §§ 145(a) and (b)” and that “. . . there is a
    dearth of case law addressing the scope of relevant evidence with respect to good faith under Section 145(a).”
    Hermelin v. K-V Pharm. Co., 54 A.3d 1093, 1112 (Del. Ch. 2012).
 421 DEL. CODE ANN. tit. 8, § 145(a)–(b).

 422 2011 AFI Amended Certificate, at Art. VIII, § D [GSResCap0000065785]; 2009 AFI Amended Certificate, at

    Art. VIII, § D [GSResCap0000064387]; 2009 AFI Certificate, at Art. VIII, § D [KL000000204]; 2006 AFI
    Amended LLC Operating Agreement, at Art. XI, § 11.1 [CERB001063].
 423 See Cochran v. Stifel Fin. Corp., No. 17350, 2000 Del. Ch. LEXIS 58, 45 (Del. Ch. Mar. 8, 2000) (“And

    under § 145(a), the parent corporation could indemnify the subsidiary directors for an adverse judgment
    against them so long as the directors ‘acted in good faith and in a manner [they] reasonably believed to be in
    or not opposed to the best interests of the [parent] corporation.’”) (brackets in original); see also Section
    VII.E.1.f (discussing whether the directors owe a fiduciary duty to the subsidiary and/or the parent company).

                                                        IV-66
12-12020-mg           Doc 3698-11       Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                               Pg 67 of 69




     Thus, to be indemnified under DGCL sections 145(a) or (b) and the Indemnification
Provisions, an Independent Director will likely need to show that, in the performance of his
duties on the ResCap Board, he was acting in a manner that he reasonably believed to be in or
not opposed to the best interests of the Parent Entity, and not just ResCap.
              b. DGCL Section 145(c)
     While DGCL sections 145(a) and (b) provide permissive authority pursuant to which
corporations may provide indemnification to their directors, Delaware General Corporations Law
section 145(c) (“DGCL section 145(c)”) is a mandatory indemnification statute that requires:
                     To the extent that a present or former director or officer of a
                     corporation has been successful on the merits or otherwise in
                     defense of any action, suit or proceeding referred to in
                     subsections (a) and (b) of this section, or in defense of any claim,
                     issue or matter therein, such person shall be indemnified against
                     expenses (including attorneys’ fees) actually and reasonably
                     incurred by such person in connection therewith.424
      DGCL section 145(c) requires a corporation to indemnify a director who is successful, on
the merits or otherwise, in an action that would otherwise fall within DGCL sections 145(a) and
(b), even if the director may not have acted in good faith—for example, if the director prevailed
based “on a technicality in a proceeding within the scope of section 145(a),” or “if an action for
breach of fiduciary duty brought against the [director] were dismissed on non-merits grounds.”425
      DGCL section 145(c) mandates this indemnification for “a present or former director or
officer of a corporation,” so it is clear that a director of ResCap who was successful on the
merits or otherwise in defending any action that falls within the scope of DGCL sections 145(a)
or (b) would be entitled to mandatory indemnification under DGCL section 145(c). However,
DGCL section 145(c) does not appear to mandate indemnification for a director of a subsidiary
of a corporation. As such, a director of ResCap would probably not be entitled to mandatory
indemnification by a Parent Entity under DGCL section 145(c). While Delaware case law does
not squarely address this question, Cochran v. Stifel Financial Corp. indicates that
indemnification by a parent company under DGCL section 145(c) does not extend to directors
of a subsidiary corporation.426
              c. D&O Insurance
     Even if an Independent Director is not entitled to indemnification under the
Indemnification Provisions and/or the Reasonable Expense Indemnification Provisions, the
director may still be covered and insured under a Parent Entity’s D&O insurance policy, subject
to applicable deductibles and coverage limits.427
424 DEL. CODE ANN. tit. 8, § 145(c).

425 See Cochran v. Stifel Fin. Corp., No. 17350, 2000 Del. Ch. LEXIS 179, 32 (Del. Ch. Dec. 13, 2000).

426 Id. at *34–37.

427 See Section IV.B.1.f.



                                                     IV-67
12-12020-mg     Doc 3698-11     Filed 05/13/13 Entered 05/13/13 17:08:13        Section IV
                                       Pg 68 of 69




           d. Breaches Of Fiduciary Duty And Exculpation, Indemnification, And D&O
              Insurance

     The following chart summarizes how each type of breach of a director’s fiduciary duty
 would coordinate with exculpation by ResCap, indemnification by AFI, and coverage under
 AFI’s “Side A” D&O insurance:




                                          IV-68
12-12020-mg         Doc 3698-11         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section IV
                                               Pg 69 of 69




      The Examiner notes that a variation unique to the parent-subsidiary context, in which a
 fiduciary affiliated with both the parent and subsidiary entities could at the direction of the
 parent entity breach his duty of loyalty in bad faith to the subsidiary but act in good faith with
 respect to the parent, might apply to potential claims encompassed by the Investigation.428 The
 parent may indemnify such a director because such a breach would be in good faith with
 respect to the parent entity under Delaware General Corporate Law section 145(d).429
 However, the Examiner is aware of no existing case law that would support the argument of a
 director bringing suit against the parent entity to compel such indemnification. The outcome
 of such a hypothetical argument in the absence of case law on point is uncertain.430




 428 See Section VII.E.1.f(1) for a discussion of the duties owed by directors of a wholly owned subsidiary and

   Section VII.E.2.a for a discussion of such a potential claim.
 429 DEL. CODE ANN. tit. 8, § 145(d) (allowing permissive indemnification if approved by majority vote of the

   directors who are not parties to such action, by a committee designated by a majority vote of such directors,
   by independent legal counsel in a written opinion if elected by such directors, or by the stockholders).
 430 Equitable considerations might dictate that the parent entity that benefited from and arguably directed the

   breach of fiduciary duty vis-à-vis the subsidiary should be compelled to indemnify its director even though
   not obligated to do so under conventional indemnification principles.

                                                      IV-69
